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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Gordon P. Gallagher


Civil Action No. 24-cv-01386-GPG-STV

ALLIANCE OF HEALTH CARE
SHARING MINISTRIES,

       Plaintiff,

v.

MICHAEL CONWAY, in his official capacity
as Commissioner of the Colorado Division of Insurance,

       Defendant.


                                             ORDER


       Before the Court is Plaintiff Alliance of Health Care Sharing Ministries’ (the Alliance)

Motion for a Preliminary Injunction (D. 8). The Court DENIES this motion for the following

reasons.

                                       I. BACKGROUND

       The Alliance is a 501(c)(6) trade organization representing the interests of various health

care sharing ministries (D. 8-5 at 3). These ministries are 501(c)(3) organizations “whose core

purpose is to facilitate the sharing of medical expenses as an exercise and expression of religious

belief” (id. at 4). At least some of them offer health care sharing plans or arrangements to Colorado

residents and are thus subject various reporting requirements under Colorado Revised Statutes §

10-16-107.4 and its implementing regulation, 3 Colo. Code Regs. § 702-4:4-10-01 (Regulation 4-


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10-01). This Order refers to this law and regulation collectively as the “Reporting Law.” The

Alliance challenges the constitutionality of the Reporting Law and seeks to enjoin its enforcement

(see generally D. 8; D. 32).

       Section 10-16-107.4, enacted in 2022, generally requires “[a] person not authorized by the

[C]ommissioner [of the Colorado Division of Insurance] . . . to offer insurance in [Colorado] that

offers or intends to offer a plan or arrangement to facilitate payment or reimbursement of health-

care costs or services for residents of [Colorado]” to annually report data to Defendant

Commissioner of the Colorado Division of Insurance (the Commissioner, or Defendant). The

required data includes:

               (I)        The total number of individuals and households that participated in
                          the plan or arrangement in [Colorado] in the immediately preceding
                          calendar year;

               (II)       The total number of employer groups that participated in the plan
                          or arrangement in [Colorado] in the immediately preceding
                          calendar year, specifying the total number of participating
                          individuals in each participating employer group;

               (III)      If the person offers a plan or arrangement in other states, the total
                          number of participants in the plan or arrangement nationally;

               (IV)       Any contracts the person has entered into with providers in
                          [Colorado] that provide health-care services to plan or arrangement
                          participants;

               (V)        The total amount of fees, dues, or other payments collected by the
                          person in the immediately preceding calendar year from
                          individuals, employer groups, or others who participated in the plan
                          or arrangement in [Colorado], specifying the percentage of fees,
                          dues, or other payments retained by the person for administrative
                          expenses;

               (VI)       The total dollar amount of requests for reimbursement of health-
                          care costs or services submitted in [Colorado] in the immediately
                          preceding calendar year by participants in the plan or arrangement

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                   or providers that provided health-care services to plan or
                   arrangement participants;

           (VII)   The total dollar amount of requests for reimbursement of health-
                   care costs or services that were submitted in [Colorado] and were
                   determined to qualify for reimbursement under the plan or
                   arrangement in the immediately preceding calendar year;

           (VIII) The total amount of payments made to providers in [Colorado] in
                  the immediately preceding calendar year for health-care services
                  provided to or received by a plan or arrangement participant;

           (IX)    The total amount of reimbursements made to plan or arrangement
                   participants in [Colorado] in the immediately preceding calendar
                   year for health-care services provided to or received by a plan or
                   arrangement participant;

           (X)     The total number of requests for reimbursement of health-care costs
                   or services submitted in [Colorado] in the immediately preceding
                   calendar year that were denied, expressed as a percentage of total
                   reimbursement requests submitted in that calendar year, and the
                   total number of reimbursement request denials that were appealed;

           (XI)    The total amount of health-care expenses submitted in [Colorado]
                   by plan or arrangement participants or providers in the immediately
                   preceding calendar year that qualify for reimbursement pursuant to
                   the plan or arrangement criteria but that, as of the end of that
                   calendar year, have not been reimbursed, excluding any amounts
                   that the plan or arrangement participants incurring the health-care
                   costs must pay before receiving reimbursement under the plan or
                   arrangement;

           (XII)   The estimated number of plan or arrangement participants the
                   person is anticipating in [Colorado] in the next calendar year,
                   specifying the estimated number of individuals, households,
                   employer groups, and employees;

           (XIII) The specific counties in [Colorado] in which the person:

                   (A) Offered a plan or arrangement in the immediately preceding
                       calendar year; and

                   (B) Intends to offer a plan or arrangement in the next calendar year;


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              (XIV) Other states in which the person offers a plan or arrangement;

              (XV)     A list of any third parties, other than a producer, that are associated
                       with or assist the person in offering or enrolling participants in
                       [Colorado] in the plan or arrangement, copies of any training
                       materials provided to a third party, and a detailed accounting of any
                       commissions or other fees or remuneration paid to a third party in
                       the immediately preceding calendar year for:

                      (A) Marketing, promoting, or enrolling participants in a plan or
                          arrangement offered by the person in [Colorado]; or

                      (B) Operating, managing, or administering a plan or arrangement
                          offered by the person in [Colorado];

              (XVI) The total number of producers that are associated with or assist the
                    person in offering or enrolling participants in [Colorado] in the plan
                    or arrangement, the total number of participants enrolled in the plan
                    or arrangement through a producer, copies of any training materials
                    provided to a producer, and a detailed accounting of any
                    commissions or other fees or remuneration paid to a producer in the
                    immediately preceding calendar year for marketing, promoting, or
                    enrolling participants in a plan or arrangement offered by the person
                    in [Colorado];

               (XVII) Copies of any consumer-facing and marketing materials used in
                      [Colorado] in promoting the person’s plan or arrangement,
                      including plan or arrangement and benefit descriptions and other
                      materials that explain the plan or arrangement;

               (XVIII) The name, mailing address, e-mail address, and telephone number
                       of an individual serving as a contact person for the person in
                       [Colorado];

               (XIX) A list of any parent companies, subsidiaries, and other names that
                     the person has operated under at any time within the immediately
                     preceding five calendar years; and

              (XX)     An organizational chart for the person and a list of the officers and
                       directors of the person[.]

Colo. Rev. Stat. § 10-16-107.4(1)(a).



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         The statute carves out from these reporting requirements “[d]irect primary care

agreements” and “[o]ther consumer payment arrangements identified by the [C]ommissioner by

rule, including consumer payment plans offered directly by a provider to a patient or the party

responsible for payment on behalf of the patient.” Id. § 10-16-107.4(5). It also authorizes the

Commissioner to “adopt rules as necessary” to implement the statute. Id. § 10-16-107.4(4). And

it permits the Commissioner to levy fines against persons who do not remedy identified reporting

deficiencies within a 30-day cure period. Id. § 10-16-107.4(2).

         Section 10-16-107.4 further requires the Commissioner to “[p]repare a written report

summarizing the information” submitted by reporting parties and to post on the Colorado Division

of Insurance’s (the Division) website “the report and accurate and evidence-based information

about the persons who submitted information . . . , including how consumers may file complaints.”

Id. § 10-16-107.4(3).

         Regulation 4-10-01, which became effective on April 30, 2024, 1 requires all “health care

sharing plans and arrangements” to email the Division a filled-out reporting template, 2 along with

copies of marketing materials, an organizational chart, and copies of training materials provided



1
  The Division enacted an interim regulation, Emergency Regulation 22-E-20, which became effective shortly after
Section 10-16-107.4 became law in 2022. The interim regulation imposed reporting requirements on sharing plans
similar to those the final regulation imposes. See generally Emergency Regulation 22-E-20, available at
https://drive.google.com/file/d/1vbJEv9NQKpvOgY9UQ1ZwDhducFQ717nb/view; see also id., Appendix A.
2
  This reporting template is a spreadsheet, with requests for information generally tracking the categories enumerated
in Colorado Revised Statutes § 10-16-107.4(1)(a) (though the reporting template divides certain of the statutory
categories into separate requests) (see D. 46-1 at 638–40). The template contains some requests for information not
expressly noted in the statute, however. For instance, it asks reporting parties to identify their organizational websites
(id. at 638). It also asks that reporting parties identify the percentage of fees, dues, contributions, or other payments
from Colorado sharing plan or arrangement participants are retained for “program expenses,” as opposed to
“administrative expenses” (id.), and to describe their appeals processes and provide data on appeals outcomes (id. at
639, 641).


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to “producer[s]” and “third part[ies].” See Regulation 4-10-01(5)(A). It defines “health care

sharing plan” and “health care sharing arrangement” to include:

                  any organization that offers or markets products to facilitate payment or
                  reimbursement of health-care costs or services for one (1) or more residents
                  of Colorado. This does not include direct primary care agreements as
                  defined in § 6-23-101, C.R.S.; consumer payment plans offered directly
                  between a provider and patient (or patient’s responsible party); businesses
                  used to facilitate the plan’s operations such as reimbursement handling, cost
                  containment vendors, data processing; and crowdfunded sources that do not
                  require ongoing membership fees, share requirements, or dues for the
                  purposes of payment for and/or reimbursement of health care services.

Regulation 4-10-01(4)(G).           Covered entities must complete Regulation 4-10-01’s reporting

requirements annually: the required reports are due “by March 1 of each year with data for the

prior calendar year.” 3 Regulation 4-10-01(5)(A)(2).

                                          II. FINDINGS OF FACT 4

         A. Sharing arrangements proliferate after the Affordable Care Act passes.

         In 2010, Congress passed the Affordable Care Act (ACA), which mandates that most

individuals obtain “minimum essential” insurance coverage for themselves and their dependents.

See 26 U.S.C. § 5000A(a). But the ACA exempts members of “health care sharing ministries”

from this requirement. Id. § 5000A(d)(2)(B). After the ACA passed, membership in health care




3
  Emergency Regulation 22-E-20 likewise imposed a March 1 reporting deadline, except for 2021 data, which it
required covered entities to report by December 15, 2022.
4
  Unless otherwise noted, the Court draws the operative facts from the parties’ briefing on the Alliance’s motion for a
preliminary injunction and the exhibits supporting this briefing. In view of the parties’ submissions, the Court
determined that neither an evidentiary hearing nor oral argument would materially assist it in resolving this matter and
that this matter could be decided on the papers. See Northglenn Gunther Toody’s, LLC v. HQ8-10410-10450 Melody
Lane LLC, 702 F. App’x 702, 705 (10th Cir. 2017) (recognizing that “neither Fed. R. Civ. P. 65(a) nor this circuit’s
precedent require the district court to hold an evidentiary hearing or oral argument before deciding a motion for a
preliminary injunction”).

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sharing ministries increased significantly, likely because these plans generally require members to

make lower monthly payments than traditional insurers do (see D. 46-1 at 7).

         Health care sharing ministries are not as heavily regulated as traditional insurers under

federal and Colorado law. For instance, traditional ACA-governed insurance plans must spend at

least 80% of premiums paying claims or on other activities improving health care quality (or

otherwise issue rebates). 42 U.S.C. § 300gg-18(b)(1)(A). And they must cover, among other

things, pre-existing conditions, pregnancy care, treatment for substance use disorders, and mental

health care, where plans offered by health care sharing ministries are exempt from these

requirements. See 42 U.S.C. § 300gg-3(a) (prohibiting insurers from excluding coverage for pre-

existing conditions); 42 U.S.C. § 300gg–6 (requiring insurers to provide coverage consistent with

the health benefits package enumerated in 42 U.S.C. § 18022); 42 U.S.C. § 18022 (enumerating

areas of required coverage).           Colorado imposes similar requirements on traditional, ACA-

compliant insurers. See Colo. Rev. Stat. § 10-16-104 (enumerating areas of mandatory coverage);

Colo. Rev. Stat. § 10-16-118 (prohibiting certain insurers from denying coverage for pre-existing

conditions). Moreover, Colorado subjects traditional insurers to extensive rate-filing regulations.

See id. § 10-16-107 (requiring insurers to submit expected rate increases to the Commissioner and

obligating the Commissioner to adopt rules establishing required benefits ratios for health

insurance plans). And it requires traditional health insurers to participate in the Colorado Life and

Health Insurance Protection Association (which essentially pools member resources to cover

claims for coverage against insolvent insurers). 5 See id. §§ 10-20-101–120.


5
  Colorado imposes other requirements on traditional insurers, too. See, e.g., Colo. Rev. Stat. §§ 10-3-101, 10-3-108
(requiring insurers—before offering any plan in Colorado—to submit their governing documents to the
Commissioner); Colo. Rev. Stat. § 10-3-105 (generally obligating insurers to obtain a certificate of authority from the
Commissioner before transacting any insurance business in Colorado); Colo. Rev. Stat. § 10-3-109 (requiring

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         B. Consumers and others raise concerns about sharing plan practices.

         Starting in roughly 2018, the Division, through consumer complaints, other state

regulators, the National Association of Insurance Commissioners, and sharing plan marketing

materials—purportedly became aware that health care sharing plans posed unique risks to

consumers (D. 46-1 at 7–8). 6 Among the concerns relayed to the Division were: (1) that sharing

plans offered substantial incentives to insurance brokers, who were aggressively marketing sharing

plans to consumers; (2) that sharing plan marketing materials and communications were

misleading consumers into believing that these plans were providing comprehensive insurance

benefits at lower prices than traditional plans; and (3) that sharing plans were chronically rejecting

or delaying payment on claims their members understood to be reimbursable (id. at 8).

         Examples of consumer complaints the Division received include:

    •    A September 2018 complaint alleging that a sharing plan denied a consumer coverage for
         a hospital stay relating to potential stroke or blood clot symptoms on the basis that the
         consumer’s illness was “not life-threatening” (id. at 10, 46–47).

    •    An October 2018 complaint alleging that a consumer had received advanced approval for
         a procedure from Liberty HealthShare, which subsequently refused to cover the costs,
         causing the consumer to face collections proceedings (id. at 10, 48).

    •    A February 2019 complaint alleging that a consumer had signed up for a sharing plan with
         the understanding that it would cover surgery for a pre-existing condition, but then was
         denied coverage (id. at 9, 33).

    •    An August 2019 complaint alleging that Alliance member Aliera had denied a consumer
         coverage for roughly $50,000 in hospital bills (which the consumer had incurred after

insurance companies operating in Colorado to file a report with the Commissioner that includes “a detailed statement
of assets and liabilities, the amount and character of the business transacted, and moneys received and expended during
the year, and any further details of expenditures, and such other information . . . as the [C]ommissioner deems
necessary”).
6
 The Court uses the term “sharing plans” to refer generally to benefits plans offered by health care sharing ministries
and all other entities subject to the reporting requirements in Colorado Revised Statutes § 10-16-107.4 and the
Division’s implementing regulations.

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      suffering a broken neck and brain injury in a domestic violence incident) on the ground
      that the consumer’s injuries were “self-inflicted in contradiction to elements of a healthy
      and spiritual lifestyle as enumerated in the Aliera Master Guidelines” (id. at 10, 50, 53).

  •   A September 2019 complaint alleging that Alliance member Aliera initially denied
      coverage for a hospital visit relating to potential blood clots on the ground that the
      consumer’s condition was not “life threatening,” and then reversed its decision on appeal
      (but still did not promptly provide coverage) (id. at 10, 56).

  •   A November 2019 complaint alleging that a consumer had purchased a sharing plan based
      on the mistaken understanding that it was insurance, and then was denied coverage on the
      basis of a pre-existing condition (id. at 10, 58).

  •   An April 2020 complaint alleging that a sharing plan (which the consumer mistakenly
      believed to be insurance) had refused to reimburse hospital bills relating to a knee injury
      (id. at 11, 60–61).

  •   A December 2020 complaint alleging that a sharing plan falsely claimed that it had paid
      medical bills relating to a cardiac arrest, and then stonewalled the consumer when the
      consumer attempted to follow up (id. at 11, 63).

  •   An April 2021 complaint alleging that a sharing plan denied coverage for a procedure on
      the basis that it related to a pre-existing condition, and continued to deny coverage even
      after receiving a letter from the consumer’s physician explaining that the condition was not
      pre-existing (id. at 11, 69).

  •   A June 2021 complaint alleging a sharing plan was non-responsive to a consumer and a
      hospital where she received care, and had failed to reimburse the consumer for over
      $10,000 in medical bills the consumer incurred in August 2020 (id. at 11, 72).

  •   A July 2021 complaint alleging claims-handling delays (id. at 11, 74).

  •   An August 2021 complaint alleging that a broker had misled a consumer into believing that
      the consumer was purchasing an insurance policy (when in fact the consumer was
      purchasing a membership in a sharing ministry), and that the consumer had difficulty
      cancelling automatic payments (id. at 9, 36).

  •   A November 2021 complaint alleging that a consumer was misled into believing that he or
      she was purchasing a 70/30 individual health plan (as opposed to membership in a sharing
      plan or ministry), when the consumer was in fact purchasing membership in a sharing
      ministry (id. at 9, 38).




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   •   A November 2021 complaint alleging that a sharing plan changed its membership rules in
       order to avoid reimbursing members for expenses incurred in the two-month period leading
       up to plan cancellation (but during the term of the plan) (id. at 11, 76).

   •   A January 2022 complaint alleging the complainant’s elderly mother was “scammed” by a
       representative of sharing company Altrua Healthshare when she attempted to purchase a
       “regular insurance plan,” but was instead sold a plan “that did not cover mental healthcare
       or other kinds of care that standard, actual insurance plans are required to provide” (id. at
       9, 40).

   •   An August 2022 complaint alleging that a representative of a sharing plan had represented
       to a consumer that the plan provided comprehensive coverage (excepting only coverage
       for pregnancies and mental illness), and that the consumer had realized that this
       representation was false after receiving explanation of benefits paperwork after a doctor’s
       visit (id. at 9–10, 44).

       Moreover, various healthcare providers complained to the Division that they were

experiencing difficulty securing payment from sharing plans (id. at 8). For instance, in April 2019,

Primary Care Partners suggested that the Division issue “a notification to individuals in the State

of Colorado that providers [were] having issues with non-payment or late payment” from sharing

plans and that consumers would ultimately have to foot the bill (id. at 8, 29). Primary Care Partners

also asserted that it was “having a difficult time” getting Alliance member Liberty HealthShare

(Liberty) to engage with it “with respect to claims issues/problems” (id. at 29). Similarly, in

August 2019, Children’s Hospital Colorado—expressly naming members of the Alliance

including Liberty, Christian Care Ministry/Medi-Share, Samaritan Ministries, Altrua Healthshare,

and OneShare Health (OneShare)—informed the Division that it was observing “a growing

number of issues regarding unpaid claims” from sharing entities (id. at 8, 26).

       C. The Division and regulatory authorities elsewhere crack down on sharing plans.

       The Commissioner issued cease and desist orders to two entities involved in the sale of

sharing plan memberships—Trinity Healthshare (Trinity) and Aliera Healthcare (Aliera)—in 2019


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(id. at 11). These orders alleged that Trinity was operating as an unlicensed insurer, and that Aliera

was marketing, administering, and managing Trinity’s products in Colorado (id.).              Trinity

ultimately agreed to cease doing business with Colorado residents (id. at 12), and Aliera agreed

that it would “not provide any services or contract with any unauthorized insurers or unauthorized

insurance products, including . . . Health Care Sharing Ministries . . . unless and until HCSMS are

permitted to be marketed in Colorado either by statute, or through an administrative or judicial

determination . . . .” (id. at 97).

        Regulators in other states took action against these companies too (id. at 12). These

regulators alleged—among other things—that Trinity and Aliera committed only between 8% and

35% of the fees they collected to paying member claims, used insurance terms like “deductible,”

“premium,” and “comprehensive coverage” when marketing their products to consumers, falsely

presented themselves as sharing ministries within the meaning of the ACA, and improperly

diverted member funds to pay corporate officers and affiliates (id. at 12–13).

        Aliera and a successor entity to Trinity both eventually entered Chapter 11 Bankruptcy

proceedings (id. at 13). The Division’s understanding is that only between 1-5% of the over

$600,000,000 in outstanding member claims against Aliera and 0-10% of the over $300,000,000

in outstanding member claims against Trinity’s successor entity will ever be paid (id.). Further,

between 2016 and 2018, Aliera entered into an agreement with Alliance member OneShare,

whereby Aliera committed to administering some of OneShare’s sharing plans (id.). Aliera’s

bankruptcy prevented payment of some OneShare customers’ claims (id.).

        Though the Division apparently only initiated enforcement proceedings against Trinity and

Aliera before the Colorado legislature enacted Section 10-16-107.4 in 2022, it was aware that


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regulators in other states were taking enforcement actions and/or initiating litigation against other

sharing plans, including Alliance member Liberty, which operates in Colorado (id. at 8, 14–15).

Specifically, after opening an investigation into Liberty in January 2018, the Ohio Attorney

General filed a suit against Liberty generally alleging that Liberty was diverting member funds to

corporate officers and affiliated entities, rather than paying valid member claims (id. at 15). And

at least California, North Dakota, Washington, and New Mexico regulators have initiated

enforcement actions against Liberty and/or other sharing plans (id. at 14–16).

       In December 2020, the Division issued an advisory warning Colorado consumers about the

limitations common to sharing plans (id. at 14). This advisory stated:

               As open enrollment for individual plans (meaning not from an employer)
               continues, the Colorado Division of Insurance (DOI), part of the
               Department of Regulatory Agencies (DORA), is again alerting consumers
               about the risks of Health Care Sharing Programs or Ministries.

               On the surface, such programs may look like complete, Affordable Care Act
               (ACA) insurance. Low monthly payments, which the programs may refer
               to as “premiums,” may entice people to join, thinking they’re getting full
               health insurance coverage at a bargain. Such programs may even mimic the
               look and feel of ACA-compliant health insurance, using terms like “bronze,
               silver and gold tiers.” But these sharing programs or ministries often do not
               offer the same comprehensive benefits as ACA plans, and do not meet the
               ACA consumer protection standards.

               Problems occur when members get medical care and then these programs
               don’t pay, leaving the member with the doctor and hospital bills. The
               member is surprised as they thought they had full insurance coverage, but
               come to find out all that these programs don’t cover.

(Id. at 421). The advisory further observed that sharing plans “typically have restrictions or

exclusions on pre-existing conditions”; that “[m]embers may also be subject to religious or moral

restrictions . . . , which may leave members responsible for the full costs of health care that results

from an activity that the ministry [offering the plan] does not agree with”; that sharing plans often

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“do not provide mental health coverage treatment or substance use disorder treatment”; and that

these features distinguish sharing plans from ACA-compliant plans (id. at 421–22).

        Officials in other states—including Alabama, Louisiana, Maryland, Massachusetts,

Nebraska, Rhode Island, Vermont, West Virginia, and California—have issued similar warnings

(id. at 14).

        D. Colorado’s legislature decides to regulate sharing plans.

        Section 10-16-107.4 represents just the latest in a series of the Colorado legislature’s efforts

to regulate sharing plans. These efforts began in 2020, with House Bill 20-1008 (HB20-1008).

That bill would have required persons offering, operating, managing, or administering “health care

cost-sharing arrangements” to annually report various data—including annual audited financial

statements—to the Commissioner.          See HB 20-1008.       It defined “health care cost-sharing

arrangement” as:

        (I)     A health care sharing ministry, as defined in 26 U.S.C. sec. 5000A(d)(2)(B);
                or

        (II)    A medical cost-sharing community or other arrangement or entity through
                which members of the community or arrangement contribute money on a
                regular basis, at levels established by the community or arrangement, that
                may be used to share, cover, or otherwise defray the medical costs of
                members of the community or arrangement.

(Id.). This bill failed to pass, as did House Bill 21-1135 (HB21-1135), a substantially similar bill

introduced in 2021.

        In 2022, legislators introduced two competing bills directed at regulating sharing plans:

House Bill 22-1198 (HB22-1198) and House Bill 22-1269 (HB22-1269). HB22-1198, which the

Alliance testified in support of (see D. 46-1 at 17), would have expressly exempted sharing plans

from state insurance laws, but would also have imposed various disclosure requirements on sharing

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plans, see HB22-1198. For instance, it would have compelled sharing plans to notify applicants

that they do not provide insurance, do not guarantee payment of medical bills, and may exclude

from coverage more claims than traditional ACA-governed insurance plans. See id. It would have

also obligated sharing plans to obtain written affirmations from plan applicants indicating that the

applicants received and understood the above notice and received and had an opportunity to review

materials describing the plans’ terms and conditions. See id. HB 22-1198 would also have

required sharing plans to disclose various high-level plan financial data—including contribution

amounts, the amount of reimbursed medical expenses, and the amount of claimed medical

expenses—as well as information on related-party transactions to their members (or optionally, to

the broader public on a publicly accessible website). See id. And it would have required sharing

plans to publicly disclose their annual audits and other basic plan information, like the name of the

organization offering the plan, contact information for the plan, and copies of plan documents. See

id. The Colorado Attorney General would have been responsible for enforcing compliance with

HB22-1198’s requirements. See id. But HB 22-1198 did not pass.

           The Division supported the competing bill, HB22-1269, which passed and became codified

at Section 10-16-107.4 (D. 46-1 at 17). 7 Debra Judy, a Deputy Commissioner with the Division,

testified as to the scale of sharing plan membership in Colorado, and explained that HB22-1269

would enable the Division to more fully understood the sharing plan market and help consumers

navigate coverage questions (id. at 18–19). Various religiously affiliated persons and entities also

testified in support of HB22-1269.               For instance, Christian Healthcare Sharing Ministries

representative Keith Hopkinson testified that HB22-1269 would help keep consumers informed


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    For HB22-1269’s general terms, see Section I, supra.

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and imposed only relatively limited disclosure requirements (id. at 19).         Peter Severseen,

representing Lutheran Advocacy Ministry, similarly testified that HB22-1269 struck an

appropriate balance between protecting religious association and safeguarding consumers (id.).

HB22-1269’s House of Representatives sponsor, Representative Susan Lontine, explained the bill

to the House Committee on Health and Insurance in the following terms:

               Health care sharing arrangements . . . are programs where individual
               members with shared values pay monthly into a pool designed to help cover
               other members’ medical expenses. These programs have minimal oversight
               and there is no guarantee they will actually pay for anyone’s medical
               expenses. House Bill 22-1269 requires health care cost sharing
               arrangements to submit some basic, routine information to the Division of
               Insurance about how they operate and DOI will share this information
               publicly. This is a comprehensive data reporting bill designed to discourage
               misconduct and promote a necessary level of transparency to protect
               consumers. It will not impact the way these arrangements operate beyond
               requiring HCSAs to submit an annual data report. Currently very little
               information is known about these arrangements. That’s why we’re running
               a data reporting bill: to best understand how HCSAs are affecting
               consumers. We simply want to shed light on how many of these programs
               there are in Colorado, how these programs do business, how many
               Coloradans are paying into them, and how much of their health care costs
               get paid. The Division of Insurance will share this information publicly.
               This will help the DOI and the public learn about the impact these programs
               have on the cost of health insurance and health care in our state, make sure
               the programs can provide coverage to their members, and help the programs
               keep their advertising honest and clear. These programs may work for some
               people, particularly those for whom health sharing aligns with their deeply
               held religious beliefs. More concerning, however, are people who are
               signing up because they see these arrangements as a cheaper alternative to
               health insurance, without recognizing the financial risk they are taking on.
               As the cost of health care and coverage continue to rise out of the reach of
               many consumers these arrangements may look increasingly attractive but
               people need to know why they are priced lower and how they may impact
               them long-term. Both current members and individuals considering these
               options alike should be aware of what members are paying for, how
               contributions are being used, and what protections they may or may not
               have when using these programs. And that is why I’m bringing the bill.

(Id. at 18).

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       E. The Commissioner and Division implement the Reporting Law.

       After Colorado’s legislature passed HB22-1269, the Division promulgated an interim

regulation, Emergency Regulation 22-E-20, to implement it. This regulation required sharing

plans to fill out and annually file a reporting template, with the initial reports (consisting of 2021

data) due December 15, 2022, and subsequent reports due on March 1 of each successive year.

This template was substantially similar to the template associated with the final regulation,

Regulation 4-10-01, which became effective on April 30, 2024. Compare Emergency Regulation

22-E-20, Appendix A, with D. 46-1 at 638–40.

       Persons offering sharing plans in Colorado—including members of the Alliance’s—have

submitted disclosures to the Division under Section 10-16-107.4 and its implementing regulations

on at least three occasions: in December 2022, March 2023, and March 2024 (D. 46-1 at 633).

Both the emergency and final regulations permit reporting parties to request confidential treatment

of information submitted with their filings. See Emergency Regulation 22-E-20; Regulation 4-10-

01. As of the time of briefing, the Division has not challenged any claim of confidentiality asserted

under the regulations’ procedures (D. 46-1 at 634). The Division has produced summary reports

reflecting the 2021, 2022, and 2023 data it received under the regulations. See id. at 738–76;

COLO. DIV. INSUR., HEALTH CARE SHARING PLANS AND ARRANGEMENTS IN COLORADO (2024),

https://drive.google.com/drive/folders/1xPJMWwDtjSKl1P91TROoRmOWfCIb6wCo (the 2023

Report).

       These reports indicate that not all of the reporting parties are religiously affiliated.

Defendant specifically identifies the sharing organization Knew Health as an offeror of one such

secular sharing plan in Colorado (D. 46-1 at 631–32). But ministries have a much larger market

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share than secular groups: the Alliance reads the Division’s first two reports as suggesting that

upwards of 85% of sharing plan members are members of religiously oriented sharing plans (see

D. 52 at 12–13). And many of the reporting parties identify themselves as ministries (see, e.g., D.

46-1 at 749 (listing the entities that reported 2021 data to the Division)). 8

           F. The Alliance files suit.

           The Alliance filed the instant lawsuit against the Commissioner and the Division on May

16, 2024, alleging that the Reporting Law violates the Free Exercise, Establishment, and Free

Speech Clauses of the First Amendment, and abridges its members’ First Amendment freedom of

association (see generally D. 1). 9 The following day, the Alliance filed its motion for a preliminary

injunction (D. 8).

                                            III. LEGAL STANDARD

           “A preliminary injunction is an extraordinary remedy, the exception rather than the rule”

and should be “granted only in cases where the necessity for it is clearly established.” U.S. ex rel.

Citizen Band Potawatomi Indian Tribe of Oklahoma v. Enter. Mgmt. Consultants, Inc., 883 F.2d

886, 888–89 (10th Cir. 1989) (citations and internal quotation marks omitted). “The purpose of a

preliminary injunction is not to remedy past harm but to protect plaintiffs from irreparable injury

that will surely result without their issuance.” Schrier v. Univ. Of Co., 427 F.3d 1253, 1267 (10th

Cir. 2005). To prevail on a motion for a preliminary injunction, the movant must prove: (1) a

substantial likelihood of prevailing on the merits; (2) irreparable injury unless the injunction is


8
  The words “ministry” or “ministries” appear in the names of five of the sixteen entities that filed reports with the
Division reflecting 2021 data (see D. 46-1 at 749). Several of the other entities’ names also include terms invoking
religion (e.g., “Zion” and “Jericho”) (see id.). These trends persist in Division’s 2022 and 2023 data reports. See id.
at 764 (four out of sixteen entities representing themselves as ministries); 2023 Report at 11 (five out of seventeen).
9
    The Alliance has since amended its complaint, and the Division is no longer a party to this suit (see D. 32).

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issued; (3) that the threatened injury (without the injunction) outweighs the harm that the

preliminary injunction may cause the opposing party; and (4) that the injunction will not adversely

affect the public interest. Free the Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 797

(10th Cir. 2019) (citation and internal quotation marks omitted). “An injunction can issue only if

each factor is established.” Denver Homeless Out Loud v. Denver, 32 F.4th 1259, 1277 (10th Cir.

2022) (citation omitted). The final two preliminary injunction factors merge when the government

is the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009).

       Because a preliminary injunction is an extraordinary remedy, the plaintiff’s right to relief

must be clear and unequivocal. Schrier, 427 F.3d at 1258 (citation omitted). Moreover, the Tenth

Circuit specifically disfavors injunctions that will (1) alter the status quo, (2) mandate an

affirmative act by the defendant, or (3) afford the movant all the relief that it could recover at the

conclusion of a full trial on the merits. Id. at 1259. To obtain an injunction falling into one of

these disfavored categories, the plaintiff must make a “strong showing” that the likelihood-of-

success-on-the-merits and balance-of-harms factors tip in its favor. Chiles v. Salazar, 116 F.4th

1178, 1199–1200 (10th Cir. 2024); O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft,

389 F.3d 973, 976 (10th Cir. 2004).

                                         IV. ANALYSIS

       The Alliance’s requested preliminary injunction—which seeks to disrupt a statutory and

regulatory regime that has been in effect and that the Alliance’s members have complied with for

multiple years—is the sort of status-quo-altering injunction the Tenth Circuit disfavors. The




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Alliance does not dispute that its requested injunction would disturb the status quo. 10 Accordingly,

the Alliance must make a strong showing that it is likely to succeed on the merits of its claims and

that the balance of hardships weighs in its favor. The Alliance cannot meet this heightened burden.

         A. Likelihood of Success

         The Alliance has not made a showing—strong or otherwise—that it is likely to succeed on

the merits of any of its claims. First, the Alliance has not demonstrated that the Reporting Law is

not neutral or generally applicable, or that it is not rationally related to a legitimate government

interest. Accordingly, the Alliance has not shown that it is likely to succeed on the merits of its

free exercise claim. Second, generally applicable administrative and recordkeeping regulations

like the Reporting Law do not violate the Establishment Clause. The Alliance is therefore unlikely

to succeed on the merits of its Establishment Clause claim. Third, the Alliance has not shown that

the Reporting Law’s requirement that the Alliance’s members disclose certain third-party vendors

poses any risk of chilling the Alliance’s members’ First Amendment associational rights. Thus,

the Alliance’s challenge to the Reporting Law on freedom-of-association grounds is unlikely to

succeed. Fourth and finally, the Alliance has not shown that the Reporting Law—in compelling

the Alliance’s members divulge their marketing materials and to report factually accurate

operations data—violates the Alliance’s members’ free speech rights. The Alliance therefore has

not shown that it is likely to succeed on the merits of its free speech claim.




10
   Defendant specifically contends that “[t]he Alliance cannot satisfy its heavy burden to disrupt the Reporting Law’s
status quo with an injunction” (D. 46 at 37), and notes that the Alliance’s members have submitted disclosures under
the Reporting Law “on three occasions over two years before filing this suit” (id. at 4). The Alliance does not respond
to Defendant’s argument that a heightened standard of review applies, for instance, by arguing that regulatory
landscape was in flux before the Division promulgated Regulation 4-10-01, such that the Division’s emergency
regulation did not represent the status quo (see generally D. 52).

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                  1. Free Exercise Clause

         The Free Exercise Clause in the First Amendment to the United States Constitution

provides that “Congress shall make no law . . . prohibiting the free exercise” of religion. U.S.

Const. amend. I. Through the Fourteenth Amendment, this protection likewise applies against

state laws and policies.          See Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 524 (2022)

(recognizing that the First Amendment’s free-exercise protections are incorporated into the

Fourteenth Amendment). But not every law that burdens religion is unconstitutional—or even

presumptively so. Indeed, “laws incidentally burdening religion are ordinarily not subject to strict

scrutiny under the Free Exercise Clause so long as they are neutral and generally applicable.”

Fulton v. City of Philadelphia, 593 U.S. 522, 533 (2021) (citing Emp. Div., Dep’t of Hum. Res. of

Oregon v. Smith, 494 U.S. 872, 878–82 (1990)). Rather, neutral and generally applicable laws

need only bear a rational relationship to a legitimate government end. United States v. Hardman,

297 F.3d 1116, 1126 (10th Cir. 2002).

         On the record currently before the Court, the Alliance has not met its burden of showing

that the Reporting Law is not neutral or is not generally applicable. 11 And the Reporting Law

easily clears the minimal level of scrutiny that applies to neutral and generally applicable laws.

                           i. Neutrality

         “Government fails to act neutrally when it proceeds in a manner intolerant of religious

beliefs or restricts practices because of their religious nature.” Fulton, 593 U.S. at 533. Along the



11
   The party seeking a preliminary injunction predicated on a free exercise challenge bears the burden of demonstrating
that the challenged law or policy is not neutral or generally applicable. Chiles v. Salazar, 116 F.4th 1178, 1222 (10th
Cir. 2024); see also Kennedy, 597 U.S. at 525 (noting that “a plaintiff may carry the burden of proving a free exercise
violation . . . by showing that a government entity has burdened his sincere religious practice pursuant to a policy that
is not ‘neutral’ or ‘generally applicable’”).

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same lines, a law is not neutral if it is “specifically directed at . . . religious practice.” Kennedy,

597 U.S. at 526 (quoting Smith, 494 U.S. at 878). Facially discriminatory laws—i.e., laws that

“refer[] to a religious practice without a secular meaning discernable from the language or

context”—fall into this camp. See Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

520, 533 (1993). So too do laws that otherwise target religious exercise as their “object.” Kennedy,

597 U.S. at 526 (quoting Lukumi, 508 U.S. at 533). Impermissible targeting may be inferred where

“the effect of a law in its real operation” is to effect a “religious gerrymander.” Lukumi, 508 U.S.

at 535. Importantly, however, a law or policy’s disparate impact on religious adherents does not

necessarily compel a finding of targeting. See id. (“To be sure, adverse impact will not always

lead to a finding of impermissible targeting. For example, a social harm may have been a

legitimate concern of government for reasons quite apart from discrimination.”). Targeting may

also be inferred when “the historical background of the decision under challenge, the specific series

of events leading to the enactment or official policy in question, and the legislative or

administrative history, including contemporaneous statements made by members of the

decisionmaking body” speak to discriminatory intent. Id. at 540; see also Masterpiece Cakeshop

v. Colorado C.R. Comm’n, 584 U.S. 617, 639 (2018) (applying these factors); Chiles, 116 F.4th at

1223 (same).

       The Reporting Law does not facially discriminate against religious practices. And the

Alliance does not contend that it does. Instead, the Alliance argues that the Reporting Law operates

as a religious gerrymander and that the circumstances surrounding the enactment of the Reporting

Law bespeak government hostility towards the religious practices of its members.




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         The Court does not find these arguments persuasive. First, as Defendant observes, Section

the Reporting Law’s requirements apply not only to sharing ministries, but also to secular entities

that offer or intend to offer sharing plans or arrangements in Colorado. To be sure, ministries have

a strong presence in Colorado’s sharing plan market: according to the Alliance, upwards of 85%

of the sharing plan members in Colorado are members of religiously affiliated plans. And a

cursory review of the Division’s annual reports indicates that many of the reporting parties

describe themselves as ministries. Under the circumstances of this case, however, the Court cannot

say that any disparate impact the Reporting Law may have on religious adherents reflects

impermissible targeting and is not just some incidental result of Colorado’s legitimate efforts to

regulate a social harm. Cf. Lukumi, 508 U.S. at 535 (characterizing disparate impact as non-

dispositive).

         Maybe Colorado does take umbrage to the religious beliefs and practices of sharing

ministries. But there is no evidence of that. Based on the record currently before the Court, it

appears far more likely that the disproportionate impact of the Reporting Law on religious entities

is a byproduct of these entities’ dominance of the sharing plan market—a market that seems to

have largely been created by the relative flexibility ministries and their members are afforded under

the ACA. Simply because many religious entities are active in a market does not mean that

Colorado cannot permissibly regulate that market in response to documented abusive practices. 12


12
   A contrary result would be inconsistent with Smith and its progeny. In Smith the United States Supreme Court
upheld an Oregon law generally proscribing peyote possession (and related denials of unemployment benefits on
peyote-use grounds) after concluding Oregon’s policy was neutral and generally applicable. 494 U.S. at 874–76, 879.
In so holding, the Court analogized to its racial-discrimination jurisprudence, which stands for the proposition that
“neutral laws that have the effect of disproportionately disadvantaging a particular [] group” do not demand special
scrutiny. Id. at 886 n.3. One might suspect that the effects of a law criminalizing peyote possession would fall
disproportionately on persons using peyote for religious purposes—but that does not mean a law generally proscribing
peyote possession is presumptively invalid. By the same token, the reporting regime at issue here, despite falling

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See Tingley v. Ferguson, 47 F.4th 1055, 1087 (9th Cir. 2022) (“[T]hat a particular group, motivated

by religion, may be more likely to engage in the proscribed conduct does not amount to a free

exercise violation.” (citation and internal quotation mark omitted)).

         Second, contrary to the Alliance’s arguments, the context in which Colorado adopted the

Reporting Law does not indicate that Defendant or any other persons involved with the enacting

and implementing the Reporting Law are impermissibly targeting religious adherents. In support

of its context-of-enactment argument, the Alliance observes that the Division’s December 2020

consumer advisory explicitly mentioned ministries, as did earlier versions of the bill that was

ultimately codified at Section 10-16-107.4; that the Division’s reporting of data collected pursuant

to the Reporting Law is misleading; and that the Reporting Law exempts secular arrangements

purportedly comparable to those sharing ministries offer.

         The isolated references to ministries in the Division’s consumer advisory and in earlier

bills regarding sharing plans do not suggest that Colorado or its regulatory officials sought to

impose reporting requirements on sharing plans because of the religious nature of sharing

ministries. Neither the Division’s consumer advisory nor the earlier-introduced bills mentioned

ministries exclusively. Rather, the advisory referred to both “Health Care Sharing Programs” and

“Ministries.” And the bills referred to both “health care sharing ministr[ies], as defined in 26

U.S.C. sec. 500A(d)(2)(B)” and “medical cost-sharing communit[ies] or other arrangement[s] or




disproportionately on religious adherents, is not necessarily unconstitutional. Moreover, Smith’s core proposition is
that “an individual’s religious beliefs [do not] excuse him from compliance with an otherwise valid law prohibiting
conduct that the State is free to regulate.” Id. at 878–79. Here, the Alliance does not contend that health care sharing
is an exclusively religious practice or that Colorado cannot regulate health care sharing as a general matter. Rather,
the thrust of the Alliance’s free exercise challenge is that ministries’ beliefs should exempt them from complying with
Colorado’s reporting regime. The Alliance’s challenge and supporting arguments run afoul of Smith’s underlying
principles.

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entit[ies] through which members . . . contribute money on a regular basis . . . that may be used to

share, cover, or otherwise defray the medical costs of members . . . .”

       As previously discussed, many of the entities that sell membership in sharing plans in

Colorado are ministries, and a majority (and perhaps even a vast majority) of sharing plan members

are affiliated with ministries. Given ministries’ market dominance, it is unsurprising that efforts

to regulate the sharing plan market might make reference to ministries.

       Moreover, though the consumer advisory and bills reference ministries, they express no

normative views on the religious beliefs or practices of these ministries. The record shows that

the advisory post-dates various complaints the Division received to the effect that consumers

(including purchasers of sharing plans from ministries) believed they were purchasing

comprehensive insurance plans when they were not in fact purchasing insurance. The advisory is

consistent with these complaints and is limited to statements of uncontested fact. To the extent it

mentions religion, the advisory merely notes that members of sharing plans may be “subject to

religious or moral restrictions from sharing ministries,” which can inform coverage decisions (D.

46-1 at 422). Nobody disputes that this is factually accurate, or that coverage restrictions are a

relevant consumer consideration in selecting a health plan. The advisory’s factually correct

statements about sharing-plan risks do not constitute commentary on the merits of the religious

practices or beliefs of the ministries that offer some of the sharing plans or speak to any

government animus towards religion.

       The Court also does not find that the way the Division reports out the data it collects under

the Reporting Law supports an inference that the Reporting Law is grounded in animus towards

the religious beliefs and practices of sharing ministries. The Alliance claims that the Division’s


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reporting is misleading because it compares the “sticker” price of health care costs submitted to

sharing plans against the amounts sharing plans pay or reimburse, when this price is often

negotiated downwards. According to the Alliance, the upshot is that the Division’s reporting

makes it appear that sharing plans cover a lower proportion of their members’ ultimate costs than

they actually do.      The Alliance’s briefing and pleadings on this issue are somewhat

underdeveloped. If the Division’s reporting is indeed misleading, the Court has no way of

determining how misleading it is (e.g., the Alliance offers no information about the scope of the

discounts sharing plans generally negotiate with providers or the extent to which “sticker” costs

differ from “actual” costs). It is not clear to the Court that the amount sharing plans pay, in

comparison to the amount sharing plan members claim, is not a useful metric for consumers

selecting among sharing plans and conventional insurance plans. Even assuming the statistics the

Division publicly reports imply that the sharing plans are paying a smaller share of “real” member

costs than they actually do, this ex post reporting issue is extremely weak evidence that the object

of the Reporting Law was or is to target religious entities for their practices and beliefs.

       Finally, the Court rejects the Alliance’s argument that the Reporting Law privileges secular

conduct comparable to the religious conduct of some sharing plans through exemptions in Section

10-16-107.4, Regulation 4-10-01, and other Colorado laws. As discussed at greater length in

Section IV(A)(1)(ii), infra, the Court does not find that the purportedly more secular sorts of

arrangements exempt from the Reporting Law are meaningfully comparable to the regulated

arrangements. The fact that Colorado exempts practices like crowdfunding efforts from the




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Reporting Law does not show that the Reporting Law is intolerant of religion or regulates sharing

plans because some are religious. 13

         All told, the Alliance’s evidence that the Reporting Law is not neutral presents a far weaker

case than the evidence other courts have relied on in sustaining free exercise challenges. See, e.g.,

Masterpiece Cakeshop, 584 U.S. at 635 (noting a comparison public officials drew between the

plaintiff’s invocation of religious beliefs and defenses of slavery and the holocaust); Lukumi, 508

U.S. at 534–35 (relying on a recital in a government resolution stating that members of the public

had “expressed their concern that certain religions may propose to engage in practices which are

inconsistent with public morals, peace or safety”); Bella Health & Wellness v. Weiser, 699 F. Supp.

3d 1189, 1215 (D. Colo. 2023) (relying on statutory text commenting on the values and beliefs of

religious entities). Of course, a plaintiff does not always need express legislative or government

statements to substantiate a free exercise challenge. See Lukumi, 508 U.S. at 534 (recognizing that

“[t]he Free Exercise Clause protects against governmental hostility which is masked, as well as

overt”). But such evidence would put the Alliance’s preliminary injunction request on much

stronger footing. The evidence the Alliance has adduced at the preliminary injunction stage does

not strongly or clearly and unequivocally show that the Reporting Law is not neutral.

         To the contrary, Section 10-16-107.4’s legislative history and the circumstances

surrounding the Reporting Law’s enactment reflect that Colorado’s legislature and regulators

imposed the Reporting Law to address legitimate consumer protection concerns—not to target

religious exercise. The Colorado legislature enacted Section 10-16-107.4 after the Division


13
  The Court is also unpersuaded that there is a meaningful religious-secular divide between sharing plans and all of
the arrangements the Alliance casts as “secular.” For instance, crowdfunding and charitable efforts to pay for medical
care are often religiously motivated. Meanwhile, some sharing plans are secular.

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received many consumer complaints concerning sharing plan practices. Multiple consumers

complained to the Division that sharing plans (or brokers and agents marketing these plans) misled

them into believing they were purchasing comprehensive insurance plans (as opposed to

membership in sharing plans), that they otherwise misunderstood the scope of their benefits as

sharing plan members, and that sharing plans were engaging in questionable claims-processing

practices. The record also shows that providers similarly complained to the Division about sharing

plan practices, and that sharing plans faced enforcement actions in Colorado and other states, not

for their religious activities, but for violating state law or otherwise mistreating consumers.

       Section 10-16-107.4’s legislative history aligns with the concerns expressed by consumers,

providers, and regulators in Colorado and other states. As Representative Lontine, HB22-1269’s

sponsor put it, the “minimal oversight” and lack of any “guarantee that [sharing plans] will actually

pay for anyone’s medical expenses” necessitated passage of a consumer protection law (D. 46-1

at 18). In her view, the Reporting Law’s object is to “promote a necessary level of transparency

to protect consumers” and not to “impact the way these [sharing] arrangements operate beyond

requiring [them] to submit an annual data report” (id.). Testimony the legislature heard in favor

of the Reporting Law also speaks to its intended purpose and effects. Debra Judy, a Deputy

Commissioner for the Division, testified that the Reporting Law would enable the Division to more

fully understand the health sharing market and assist consumers in addressing coverage questions

(id. at 18–19). Keith Hopkinson, representing Christian Healthcare Sharing Ministries, testified

that the bill would help keep consumers informed. Peter Severseen, representing Lutheran

Advocacy Ministry, similarly testified that the proposed legislation appropriately balance

protecting religious belief with consumer safeguards (id. at 19).


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        The Alliance has not shown that the Reporting Law targets religious exercise as its object

or imposes reporting requirements on sharing plans because of the religious nature of some of the

entities that market them. The Alliance has not therefore shown that the Reporting Law lacks

neutrality.

                       ii. General Applicability

        A law may not be generally applicable for one of two reasons. First, “[a] law is not

generally applicable if it ‘invite[s]’ the government to consider the particular reasons for a person’s

conduct by providing ‘a mechanism for individualized exemptions.’” Fulton, 593 U.S. at 533

(quoting Smith, 494 U.S. at 884). Second, a law is not generally applicable “if it prohibits religious

conduct while permitting secular conduct that undermines the government’s asserted interests in a

similar way.”    Id. at 534.    For purposes of this second test, “whether two activities are

comparable . . . must be judged against the asserted government interest that justifies the

regulation at issue” and “the risks [the] various activities pose.” Tandon v. Newsom, 593 U.S. 61,

62 (2021).

        The Alliance contends that the Reporting Law fails both tests. According to the Alliance,

Section 10-16-107.4 creates a mechanism for the Commissioner to craft individualized exemptions

because it permits the Commissioner to exclude from this statute’s reporting requirements “[o]ther

consumer payment arrangements identified by the [C]ommissioner by rule, including consumer

payment plans offered directly by a provider to a patient or the party responsible for payment on

behalf of the patient.” See Colo. Rev. Stat. § 10-16-107.4(5)(b). The problem with this argument

is that Section 10-16-107.4 delegates to the Commissioner the authority to act by rule, not the

authority to issue individualized exemptions of the type that Fulton contemplates.


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       The government contract at issue in Fulton dictated that a “[p]rovider [of foster care

placement services] shall not reject a child or family including, but not limited to, . . . prospective

foster or adoptive parents, for Services based upon . . . their . . . sexual orientation . . . unless an

exception is granted by the Commissioner [of Philadelphia’s Department of Human Services] or

the Commissioner’s designee, in his/her sole discretion.” 593 U.S. at 535. Similarly, Sherbert v.

Verner, a case on which Fulton’s discussion of general applicability relied, involved a statute that

denied unemployment benefits to claimants who “failed, without good cause . . . to accept available

suitable work.” 374 U.S. 398, 401 (1963). In Fulton, the Supreme Court described both these

“sole discretion” and “good cause” standards as constitutionally problematic because they invited

officials to consider the particular reasons for an individual person’s conduct when distributing

exemptions from otherwise generally applicable policies. 593 U.S. at 533–34, 537.

       In contrast to the standards at issue in Fulton and Sherbert, Section 10-16-107.4 simply

delegates rulemaking authority to a public official—that is, it permits a public official to create

categorical exclusions for types of arrangements that do not implicate Section 10-16-107.4’s

underlying policy objectives and concerns. It does not authorize the Commissioner to exempt

individual persons from complying with the Reporting Law or invite the Commissioner to consider

whether individual persons’ beliefs are worthy (or unworthy) of solicitude. While Section 10-16-

107.4 broadly delegates legislative powers to the Commissioner, not every broad legislative

delegation runs afoul of the Free Exercise Clause.

       The Alliance also asserts that the Reporting Law is not generally applicable because it

permits secular conduct that undermines the Reporting Law’s policy objectives in a similar way

to the religious conduct it allegedly infringes upon. The Alliance specifically identifies (1) direct


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primary care arrangements, (2) crowdfunding entities, (3) consumer payment plans, (4) medical

discount plans, (5) student health clinics at universities, (6) charities, (7) fraternal organizations,

and (8) fully insured out-of-state employer health plans as purportedly comparable secular

arrangements that are exempted from complying with the Reporting Law (through exemptions

enumerated in Section 10-17-107.4, Regulation 4-10-01, and other Colorado laws). But there is

no evidence that any of these arrangements pose the same or similar risks to those the Reporting

Law seeks to mitigate.

       The complaints the Division received before Colorado enacted the Reporting Law illustrate

that consumers were confused by sharing plans’ offerings—on several occasions, consumers

mistook these plans for traditional, comprehensive insurance plans. There is no evidence that any

of the excepted arrangements pose similar consumer confusion risks.

       It is unlikely that they would. For instance, direct primary care arrangements—in contrast

to sharing plans—look nothing like insurance. They involve arrangements directly between

consumers and healthcare providers, and do not involve third parties aggregating funds or

facilitating the flow of funds to pay or reimburse health care expenses. Further, there is no

indication that direct primary care arrangements hold themselves out as offering insurance-like

benefits, as sharing plans sometimes do.

       Crowdfunding arrangements likewise would not seem to create similar consumer

confusion risks to the ones sharing plans do. Indeed, a consumer raising money on GoFundMe to

fund a surgery would not likely mistake GoFundMe for insurance in the same way that a




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consumer—told by an insurance agent that they were purchasing insurance—might mistake a

sharing plan for an insurance. 14

        Consumer payment plans—like direct primary care arrangements—involve direct

relationships between consumers and providers, and do not involve third-party intermediaries like

insurance companies or sharing plans. Again, there would seem to be little risk that a consumer

entering into a payment plan with a provider would think they were purchasing insurance.

Similarly, medical discount plans do not involve third parties facilitating reimbursement or

payment of health care expenses: the consumer remains the responsible and ultimate payor. Nor

is there any evidence that medical discount plans hold themselves out as offering insurance-like

benefits. Given these features, it is unlikely that anybody entering into a medical discount plan

would think they were buying insurance.

        Student health clinics at universities, charities, and fraternal organizations also do not

generally hold themselves out as offering comprehensive insurance coverage and lack the basic

features that would cause consumers to mistake them for insurance.

        Of the exempted arrangements the Alliance identifies, only foreign employer health plans

really resemble insurance (because they are). But these plans do not pose similar risks to

consumers as sharing plans. As Defendant observes, these plans are regulated by insurance

officials in the states in which they are headquartered.



14
   The risk of consumer confusion specific to sharing plans is evident even without misleading marketing. For
instance, though the Guidelines for Health Sharing applying to members of Samaritan Ministries—one of the
Alliance’s constituents—explain that Samaritan Ministries does not offer insurance, the package of benefits that
Samaritan Ministries offers closely resembles insurance. Samaritan Ministries members pay monthly “shares”—
similar to premiums—and submit “needs”—similar to claims—which are covered subject to comprehensive coverage
guidelines and caps that vary with the specific Samaritan Ministries plan the member signs on for (see generally D.
8-3).

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       Because the Alliance has not shown that the Reporting Law either provides a mechanism

for individualized exemptions or prohibits religious conduct while permitting secular conduct that

undermines the Reporting Law’s objectives in similar ways, the Alliance has not shown that the

Reporting Law is not generally applicable.

                       iii. Rational Basis Review

       Given that the Alliance has not shown that the Reporting Law is not neutral or is not

generally applicable, the Court finds that the Reporting Law is subject only to rational basis review.

See Hardman, 297 F.3d at 1126 (observing that neutral and generally applicable laws are subject

only to rational basis review); Chiles, 116 F.4th at 1225 (“Because, on the record before us, we

find Ms. Chiles has failed to show the MCTL lacks neutrality and general applicability, the district

court did not abuse its discretion in finding the MCTL is subject to rational basis review.”).

       The Reporting Law clears rational basis review. The parties do not dispute that consumer

protection is a legitimate government interest. (And the Alliance would be hard pressed to argue

otherwise given its support for HB 22-1198, a bill competing with HB 22-1269 that would have

imposed auditing and reporting requirements on sharing plans.) Moreover, the Court finds that the

Reporting Law’s requirements are rationally related to consumer protection. The Reporting Law

generally seeks information concerning the size, scope, payment practices, and marketing efforts

of sharing plans. The Court agrees with Defendant that this information would be helpful in

identifying, understanding, assessing, and addressing the risks sharing plans pose to consumers.

               2. Establishment Clause

       The Establishment Clause of the First Amendment to the United States Constitution

provides that “Congress shall make no law respecting an establishment of religion.” U.S. Const.


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amend. I. This provision applies to the states through the Fourteenth Amendment. See Everson v.

Bd. of Ed. of Ewing, 330 U.S. 1, 15 (1947) (addressing the incorporation of the Establishment

Clause into the Fourteenth Amendment). The United States Supreme Court has instructed that

“the Establishment Clause must be interpreted by ‘reference to historical practices and

understandings.’” Kennedy, 597 U.S. at 535 (quoting Town of Greece v. Galloway, 572 U.S. 565,

576 (2014)). This historical-practices-and-understandings standard replaced the test enumerated

in Lemon v. Kurtzman, 403 U.S. 602 (1971). Id. at 534 (observing that the Supreme Court had

“long ago abandoned Lemon”). Under Lemon, a law did not pass Establishment Clause muster if

it: (1) lacked a secular legislative purpose, (2) lacked a principal or primary effect that neither

advanced nor inhibited religion, or (3) fostered an excessive entanglement with religion. Lemon,

403 U.S. at 612–13. Ultimately, the Lemon test “also came to involve estimations about whether

a ‘reasonable observer’ would consider the government’s challenged action an ‘endorsement’ of

religion.” 15 Kennedy, 597 U.S. at 534.

           The Alliance —citing Lemon’s entanglement prong—contends that the Reporting Law is

invalid because it involves long-term, continuing monitoring of religious organizations and

thereby fosters excessive government entanglement with those entities. Defendant responds that

the Supreme Court has abrogated Lemon; that even assuming Lemon’s entanglement test were still

good law, generally applicable administrative and recordkeeping regulations do not create

excessive entanglement; and that generally applicable administrative and recordkeeping

regulations do not constitute an establishment under the historical-practices-and-understandings

test.


15
     In Kennedy, the Supreme Court expressly disavowed this endorsement test too. See 597 U.S. at 534.

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       In abandoning Lemon, the Supreme Court did not issue state actors a blank check to begin

entangling themselves in the affairs of religious institutions. The Court has little doubt that laws

that do foster an excessive entanglement between government and religion are inconsistent with

the historical practices and understandings that inform the meaning of the Establishment Clause.

In short, entanglement is still a relevant consideration in Establishment Clause analyses. See, e.g.,

Shurtleff v. City of Bos., 596 U.S. 243, 286 (2022) (Gorsuch, J., concurring) (listing “government

[] control over the doctrine and personnel of the established church” among the characteristics of

founding-era establishments); Does 1-11 v. Bd. of Regents of Univ. of Colorado, 100 F.4th 1251,

1270 (10th Cir. 2024) (relying on the Establishment Clause’s “prohibition of excessive

entanglement between religion and government” post-Kennedy); Hilsenrath ex rel. C.H. v. Sch.

Dist. of the Chathams, 698 F. Supp. 3d 752, 763 n.15 (D.N.J. 2023) (observing that even though

Kennedy clarifies that the Lemon test no longer applies, “[t]hat is not to say that the considerations

underlying the Lemon test have become irrelevant”).

       At the same time, however, Kennedy does not draw into doubt the various Supreme Court

precedents validating the constitutionality of generally applicable administrative and

recordkeeping regulations.     See, e.g., Jimmy Swaggart Ministries v. Bd. of Equalization of

California, 493 U.S. 378, 395 (1990) (“[G]enerally applicable administrative and recordkeeping

regulations may be imposed on religious organization without running afoul of the Establishment

Clause.”); Hernandez v. Commissioner, 490 U.S. 680, 696–97 (1989) (“[R]outine regulatory

interaction which involves no inquiries into religious doctrine, no delegation of state power to a

religious body, and no detailed monitoring and close administrative contact between secular and

religious bodies, does not of itself violate the nonentanglement command.” (citations and internal


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quotation marks omitted)); Tony and Susan Alamo Foundation v. Secretary of Labor, 471 U.S. 290,

305–306, (1985) (observing that administrative and recordkeeping regulations—even ones that are

comparatively “burdensome in terms of paperwork”—may be sustained if not intrusive into

religious affairs).

        Such generally applicable administrative and recordkeeping laws lack the characteristics

of founding era establishments. As Justice Gorsuch explained in his Shurtleff concurrence:

                Beyond a formal declaration that a religious denomination was in fact the
                established church, it seems that founding-era religious establishments
                often bore certain other telling traits. First, the government exerted control
                over the doctrine and personnel of the established church. Second, the
                government mandated attendance in the established church and punished
                people for failing to participate. Third, the government punished dissenting
                churches and individuals for their religious exercise. Fourth, the
                government restricted political participation by dissenters. Fifth, the
                government provided financial support for the established church, often in
                a way that preferred the established denomination over other churches. And
                sixth, the government used the established church to carry out certain civil
                functions, often by giving the established church a monopoly over a specific
                function. Most of these hallmarks reflect forms of “coerc[ion]” regarding
                “religion or its exercise.”

596 U.S. at 285–86 (Gorsuch, J., concurring) (citations omitted). Moreover, the Alliance does not

argue that generally applicable administrative and recordkeeping laws are inconsistent with the

historical practices and understandings surrounding the Establishment Clause.

        In sum, the core legal propositions on which the parties rely remain valid post-Kennedy:

laws that excessively entangle government and religious entities violate the Establishment Clause,

while laws that merely impose generally applicable administrative and recordkeeping

requirements (along the lines of those at issue in Jimmy Swaggart Ministries, Hernandez, and Tony

and Susan Alamo Foundation) do not. The question this case presents is what category the

Reporting Law falls into.

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       In an attempt to show that the Reporting Law falls into the former category, the Alliance

cites to Aguilar v. Felton, 473 U.S. 402 (1985), Church of Scientology Flag Serv. Org., Inc. v. City

of Clearwater, 2 F.3d 1514 (11th Cir. 1993), and Medina v. Catholic Health Initiatives, 877 F.3d

1213 (10th Cir. 2017). But the Reporting Law is not like the policies and laws at issue in these

cases. It is more like the policies and laws in Jimmy Swaggart Ministries, Hernandez, and Tony

and Susan Alamo Foundation. While it may “requir[e] [] religious institutions to disclose []

information” about transactions that they carry out, the “administrative inquiries” the Reporting

Law contemplates “‘bear no resemblance to the kind of government surveillance the [Supreme]

Court has previously held to pose an intolerable risk of government entanglement with religion.’”

Hernandez, 490 U.S. at 698 (quoting Tony and Susan Alamo Foundation, 471 U.S. at 305).

       Aguilar involved a state program that placed public school teachers at parochial schools,

and corresponding state efforts to monitor and restrict those teachers’ activities (including at least

monthly unannounced visits from program field personnel, other visits by program coordinators,

directives to the instructors to avoid involvement with religious activities, bars to religious

materials in instructor classrooms, and directives to the parochial school administrators to clear

the classrooms used by public school personnel of religious symbols). 473 U.S. at 406–07. The

Court observed that the program’s use of public school teachers created a sort of Catch-22: because

it would violate the Establishment Clause for these teachers to convey a religious message,

“ongoing inspection [was] required to ensure the absence of a religious message.” Id. at 412. But

this constitutionally required monitoring would itself violate the Establishment Clause by creating

too high a degree of entanglement between government and religious institutions. Id. at 413. As

the Court explained, “the detailed monitoring and close administrative contact required to maintain


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[the] program c[ould] only produce a kind of continuing day-to-day relationship which the policy

of [the Establishment Clause] seeks to minimize” and “[t]he picture of state inspectors prowling

the halls of parochial schools and auditing classroom instruction surely raises more than an

imagined specter of governmental secularization of a creed.” Id. at 414 (citations and internal

quotations omitted).

       The Reporting Law requires a far lower degree of contact between state officials and the

religious institutions: representatives for sharing ministries (as well as representatives for secular

sharing plans) must annually send the Division an email attaching a spreadsheet of basic business

information along with marketing materials and training materials disseminated to third parties.

This falls far short of the “continuing day-to-day relationship” and “detailed monitoring and close

administrative contact” the Aguilar Court held violated the Establishment Clause. It is also worth

noting that the Supreme Court later reversed its Aguilar decision: in Agostini v. Felton, 521 U.S.

203, 233 (1997), the Supreme Court held that the exact same program that was at issue in Aguilar

did “not result in an ‘excessive’ entanglement that advances or inhibits religion.”

       Church of Scientology also involved a far more invasive (and less narrowly drawn)

monitoring and reporting program than the one at issue here. In that case, the City of Clearwater

enacted an ordinance generally requiring charitable organizations—including religious institutions

like the Church of Scientology—soliciting funds within the City of Clearwater to register annually

with the city. 2 F.3d at 1521. To obtain this registration, charitable organizations had to file a

registration form with the city clerk. Id. This registration form required charities to disclose

various categories of information, including, among other things, “an estimated schedule of

salaries, wages, fees, commissions, expenses and costs to be expended and paid in connection with


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the solicitation of funds and in connection with their disbursement, and an estimated percentage

of the total projected collections which the costs of the solicitation will comprise.” Id. at 1522. At

the end of each annual registration period, registrants were further required to file a retrospective

statement identifying “the full amount of money and property collected”; “a complete list of any

and all expenses incurred in procuring those funds . . . broken down into salaries, wages, fees,

commissions, advertising and all other expenses”; “the bank, if any, where the proceeds of those

solicitations of funds were placed”; and the “actual or proposed utilization in approximate amounts

of the said proceeds.” Id. Organizations omitting information from the registration form or

retrospective reports were also required to prepare a sworn “private statement” containing the

otherwise required information, and maintain supporting records validating the private statements,

which, upon the request of an organization member, the organization was required to disclose

(along with the private statement). Id. at 1522–23. Noncompliance with these requirements could

result in criminal penalties. Id. at 1523.

       In holding that the City of Clearwater’s reporting requirements collectively fostered

excessive entanglement between the city and religious organizations like the Church of

Scientology, the Eleventh Circuit relied on the Supreme Court’s (now disavowed) Aguilar

entanglement analysis. Id. at 1536. And it ultimately concluded that the City of Clearwater’s

ordinance ran afoul of the Establishment Clause because the ordinance mandated

               a “detailed monitoring and close administrative interaction” by empowering
               the city clerk to review in detail the disclosure of proposed spending for the
               coming year and to assess disclosure of all such activities over the preceding
               year, by mandating public access to a detailed accounting of church
               expenditures, by opening the books and records to members of




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                  organizations employing the private statement and by involving criminal
                  courts in enforcing these provisions. 16

Id. at 1535–36.        These requirements collectively compelled religious and other charitable

organizations to “divulge [their] entire budget[s] and all [their] operations on a continuing basis.”

Id. at 1535.

         The Reporting Law does not require such comprehensive and invasive disclosures. While

the entities subject to Reporting Law must generally disclose the total amount of fees received

from plan participants, the amount retained for administrative expenses, the total amount of

reimbursements made to plan or arrangement participants, and compensation and remuneration

paid to producers and other third parties engaged in marketing and administering the plans or

arrangements, these disclosure obligations do not “require a church to divulge its entire budget and

all its operations” like the ordinance in Church of Scientology did. Instead, they are narrowly

drawn to Colorado’s consumer protection concerns (and concomitant needs to understand sharing

plan marketing practices and to verify that sharing plans are not retaining an excessive share of

member payments, as opposed to paying member claims).

         Finally, the Alliance—relying on dicta from the Tenth Circuit’s decision in Medina v.

Catholic Health Initiatives—compares the Reporting Law to a hypothetical version of the

Employee Retirement Income Security Act (ERISA) that did not exempt “church plans.” Medina

involved an Establishment Clause challenge to ERISA’s church plan exemption. 877 F.3d at 1214.

In concluding that this exemption did not violate the Establishment Clause, the Tenth Circuit



16
  The Eleventh Circuit also held that there were fact issues as to whether the City of Clearwater enacted its ordinance
to discriminate against the Church of Scientology, pointing to statements from public officials (including statements
comparing the Church of Scientology to a cancer). Church of Scientology Flag Serv. Org., Inc., 2 F.3d at 1531–33.
That subtext is not present in this case.

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postulated that a version of ERISA not including this exemption would violate the Establishment

Clause by fostering excessive entanglement between government and religion:

               Complying with ERISA’s fiduciary rules is no simple matter. A Catholic
               church, or entity associated with one, might want to invest its plan assets in
               service of certain social goals. But that could run afoul of ERISA, which
               requires diversification of plan assets, 29 U.S.C. § 1104(a)(1)(C), and that
               plan assets be held for the exclusive purpose of providing benefits and
               defraying reasonable plan expenses. 29 U.S.C. § 1103(c). There would,
               moreover, be pervasive monitoring to determine whether the church or
               church-associated entity was complying with ERISA.

Id. at 1233. But the Reporting Law—which again requires only an annual email reporting high-

level and basic business information—does not pose the same risk of entanglement that verifying

a religious entity’s compliance with fiduciary and other obligations under ERISA would. The

Reporting Law does not delve into sharing plans’ purposes, goals, and objectives—it simply seeks

data germane to documented consumer protection concerns.

       The Reporting Law imposes generally applicable administrative and recordkeeping that do

not entail detailed monitoring or close administrative contact between Colorado authorities and

the ministries subject to the Reporting Law. The Alliance is therefore unlikely to show that the

Reporting Law fosters a risk of excessive entanglement and violates the Establishment Clause on

that basis. The Alliance has not made a strong showing that it is likely to succeed on the merits of

its Establishment Clause claim.

               3. Freedom of Association

       The First Amendment freedoms “to speak, to worship, and to petition the government for

the redress of grievances could not be vigorously protected from interference by the State unless a

correlative freedom to engage in group effort toward those ends were not also guaranteed.”

Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984). Thus, though the First Amendment does not

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explicitly mention such associational rights, the Supreme Court has “long understood as implicit

in the right to engage in activities protected by the First Amendment a corresponding right to

associate with others in pursuit of a wide variety of political, social, economic, educational,

religious, and cultural ends.” Id. The Supreme Court has sometimes referred to the associational

freedom derived from the First Amendment as a right of “expressive association.” 17 See id. at 618;

see also Salvation Army v. Dep’t of Cmty. Affs. of State of N.J., 919 F.2d 183, 198 (3d Cir. 1990)

(discussing the Supreme Court’s efforts to categorize associational rights and observing that

collective religious exercise falls into the “expressive association” category).

         Because expressive associational rights derive from the First Amendment, “there is no

constitutional right to associate for a purpose that is not protected by the First Amendment.”

Salvation Army, 919 F.2d at 199 (citing City of Dallas v. Stanglin, 490 U.S. 19 (1989)). Moreover,

“the right of expressive association has different contours depending upon the activity in which a

group is engaged” and the specific First Amendment protection on which a plaintiff grounds its

expressive association claim. Id.

         When religious organizations (such as the Alliance’s constituents) assert expressive

association claims, two First Amendment protections may be implicated.                              First, religious

organizations may invoke the right to free exercise, “which may include actions that are not

covered by the free speech clause.” Id. Second, they may rely on the right to express ideas, “which

is protected by the free speech clause” irrespective of the religious nature of such ideas. Id.




17
   The Supreme Court has used this nomenclature to distinguish First Amendment associational rights from the right
to “enter into and maintain certain intimate human relationships”—i.e., the right to intimate association. Roberts, 468
U.S. at 617–18. The Alliance’s freedom-of-association claim depends on the premise that Defendant violated its
members’ First Amendment associational rights, and not any right to intimate association.

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                       i. Association for Religious Purposes

       Neutral and generally applicable laws are presumptively valid against groups claiming

expressive associational rights under the Free Exercise Clause, just as they are valid against

individuals asserting individual free exercise rights under the same provision. Any other approach

would produce the “anomalous” result of privileging corporate over individual religious exercise.

Id.

       Here, the Court has already held that the Alliance has failed to demonstrate that the

Reporting Law is anything other than neutral and generally applicable. Thus, to the extent that the

Alliance’s freedom-of-association claim is grounded on the Free Exercise Clause, the Alliance has

failed to show a strong likelihood of success on the merits for the same general reasons as it failed

to establish a likelihood of success on the merits of its freestanding free exercise claim.

                       ii. Association for Free Speech Purposes

       The Court considered whether the Alliance has any sort of expressive association claim

predicated on the Free Exercise Clause because the Alliance raised a freestanding free exercise

claim and because the Alliance’s constituents are not disputed to be religious organizations acting

on their genuinely held religious beliefs. But the thrust of the Alliance’s freedom-of-association

challenge seems to be that various of the Reporting Law’s disclosure requirements create a risk of

chilling the relationships among its members and the third-party vendors and service providers

they work with, and by extension the ability of the Alliance’s members’ to spread their religious

messages (see D. 8 at 29–30 (citing various cases addressing association for purposes of engaging

in political and other kinds of speech)). In particular, the Alliance challenges the Reporting Law’s

requirement that persons offering or intending to offer sharing plans or arrangements to produce


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“[a] list of any third parties, other than a producer, that are associated with or assist the person in

offering or enrolling participants . . . in the plan or arrangement.” 18 See Colo. Rev. Stat. § 10-16-

107.4(1)(a)(XV). Though the Alliance’s briefing and pleadings are not entirely clear as to what

components of the Reporting Law it challenges on freedom-of-association grounds, it also appears

that the Alliance may be contesting the Reporting Law’s requirement that reporting parties provide

information respecting contracts they have entered into with healthcare providers. See id. § 10-

16-107.4(1)(a)(IV). The Alliance challenges these provisions both facially and as applied.

         The Alliance relies on the Supreme Court’s decision in Americans for Prosperity

Foundation v. Bonta, 594 U.S. 595 (2021) for the proposition that compelled disclosure

requirements trigger exacting scrutiny—i.e., an inquiry into whether the challenged disclosure

requirement is substantially related to a sufficiently important government interest. But the Court

does not read Americans for Prosperity Foundation to automatically apply exacting scrutiny to all

so-called compelled disclosure requirements—just the ones that create “[t]he risk of a chilling

effect on association.” Id. at 618. Nor does the Court read this case to displace the framework the

Supreme Court’s precedents establish for freedom-of-association claims generally.

         Not all compelled disclosure requirements are equally situated. One might describe a

municipal law requiring applicants for building permits to identify the contractors they intend to

use as a “compelled disclosure requirement.” Or consider a state law requiring the persons forming

a limited liability companies to disclose their identities when they file articles of organization with

the state. It seems that these sorts of laws would not chill First Amendment freedoms as a general


18
  Pursuant to the relevant statutory definition, a producer is “a person licensed by the division who solicits, negotiates,
effects, procures, delivers, renews, continues, services, or binds health benefit plans and is licensed to conduct these
activities in Colorado.” Colo. Rev. Stat. § 10-16-102(55).


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matter, even though they could apply to entities engaged in expressive conduct falling within the

First Amendment’s protections. It strikes the Court as unlikely that the Supreme Court intended

to pull these sorts of laws into the exacting scrutiny dragnet simply because they could be described

as “compelled disclosure” laws.

        And Americans for Prosperity Foundation’s language confirms the Supreme Court didn’t.

That decision stressed that it was limited to its own facts. See Americans for Prosperity Found.,

594 U.S. at 617 (noting “[t]he gravity of the privacy concerns in this context,” i.e., in the

compelled-disclosure-of-charitable-donors context (emphasis added)). Nothing in Americans for

Prosperity Foundation suggests that there is a per se chilling risk when a law compels entities to

disclose third-party commercial affiliates, a fundamentally different type of association than the

relationship between charities and their donors. Cf. Roberts, 468 U.S. at 634–37 (O’Connor, J.,

concurring) (observing that “there is only minimal constitutional protection of the freedom of

commercial association” and that even entities that engage in a large amount of expressive conduct

lack immunity from laws bearing on their commercial associations). Moreover, under Americans

for Prosperity Foundation, a law’s chilling effect factors into the exacting scrutiny test. Indeed,

“[t]o withstand [exacting] scrutiny, the strength of the governmental interest must reflect the

seriousness of the actual burden on First Amendment rights.” Americans for Prosperity Found.,

594 U.S. at 607 (quoting Doe v. Reed, 561 U.S. 186, 196 (2010)). If a law poses no chilling risk,

it follows that no sort of special scrutiny is required.

        Establishing that a challenged disclosure law poses a risk of chilling First Amendment

associational freedoms is a threshold requirement for asserting a First Amendment associational

claim. See id. at 618; cf. In re Motor Fuel Temperature Sales Pracs. Litig., 641 F.3d 470, 488 (10th


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Cir. 2011) (requiring an entity asserting a First Amendment associational privilege to make a prima

facie showing that the privilege applies). Before applying a First Amendment test, the Court

necessarily must determine whether the First Amendment even applies in the first instance. And

that depends on whether the plaintiff has a protected First Amendment associational interest, and

whether the challenged law implicates that interest. As the United States Court of Appeals for the

Sixth Circuit—drawing on Supreme Court precedent—explained:

               The Supreme Court’s precedent has led us to consider three things when
               confronted with an expressive-association claim. See Hamilton Cnty. Educ.
               Ass’n v. Hamilton Cnty. Bd. of Educ., 822 F.3d 831, 840 (6th Cir. 2016);
               Miller v. City of Cincinnati, 622 F.3d 524, 538 (6th Cir. 2010). First: Does
               the First Amendment apply to the group because it engages in speech? See
               [Boy Scouts of Am. v. Dale, 530 U.S. 640, 648 (2000)]. Second: If the group
               engages in speech, does a law “significantly burden” its ability to express
               its message? See id. at 653, 120 S.Ct. 2446; Roberts, 468 U.S. at 622–23,
               104 S.Ct. 3244. Third: If this burden exists, can the government satisfy the
               scrutiny that applies? For some burdens, the Court has applied strict
               scrutiny. See Dale, 530 U.S. at 648, 120 S.Ct. 2446; Roberts, 468 U.S. at
               623, 104 S.Ct. 3244. For others, it has applied its less rigorous “exacting
               scrutiny” test. Ams. for Prosperity Found., 141 S. Ct. at 2383 (plurality
               opinion) (quoting [Buckley v. Valeo, 424 U.S. 1, 64 (1976)]); cf. id. at 2391–
               92 (Alito, J., concurring in part and concurring in the judgment). And for
               the ballot-access burdens that we have discussed, it has applied the
               Anderson-Burdick balancing test. See [Washington State Grange v.
               Washington State Republican Party, 552 U.S. 442, 451–52 (2008)].

Lichtenstein v. Hargett, 83 F.4th 575, 602 (6th Cir. 2023).

       Launching into an exacting scrutiny analysis before determining a First Amendment

associational interest was even in play would put the cart before the horse. And doing so would

be inconsistent with the Supreme Court’s general approach to analyzing constitutional claims. In

the Second Amendment context, for instance, the plaintiff bears an initial burden of showing that

the Second Amendment’s text covers the conduct the challenged law or policy regulates. See New

York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 17 (2022). It is only then that the burden

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shifts to the government to show that its law or policy “is consistent with this Nation’s historical

tradition of firearm regulation.” Id. It wouldn’t make sense to have it any other way—it would

be absurd to require the government to prove its law or policy was consistent with historical arms

regulation when its law or policy does not even implicate the right to bear arms. The same is true

here. If the Alliance cannot show that the Reporting Law risks chilling its members’ expressive

rights (or, for purposes of its facial challenge, creates a broad-based chilling risk), there is no basis

for holding the government to an exacting scrutiny standard.

        The Court finds the Sixth Circuit’s framework for analyzing expressive associational

claims persuasive.     Defendant does not dispute that the Alliance’s member ministries—in

furtherance of their genuinely held religious beliefs—disseminate religious messages. These

messages qualify as protected First Amendment speech, and the Alliance’s member ministries are

entitled to associate for purposes of engaging in this speech. The Court therefore finds that the

Alliance clears the first step of the Lichtenstein analysis.

        Where the Alliance stumbles is the second step of analysis, which focuses on the burden

the government law or policy imposes on a plaintiff’s protected associational rights. Consistent

with Americans for Prosperity Foundation, however, the Court would rephrase this inquiry in

terms of “risks of a chilling effect” or burdens rather than actual chilling effects or burdens.

        Though Americans for Prosperity Foundation clarifies that it is “[t]he risk of a chilling

effect on association” that “trigger[s]” First Amendment protection, 594 U.S. at 618, it does not

clearly specify what a freedom-of-association plaintiff must do to make this showing in each and

every procedural posture. In Americans for Prosperity Foundation, which concerned an appeal

after a trial on the merits, the Supreme Court noted record evidence that the petitioners and their


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supporters had been subjected to bomb threats, protests, stalking, and physical violence. Id. at

617. It also relied on the briefing of amici “span[ning] the ideological spectrum” in concluding

that “[t]he deterrent effect feared” by charitable organizations subject to California’s donor-

disclosure law was “real and pervasive.” Id. In the discovery context, meanwhile, courts have

held that an entity challenging discovery on the basis of a First Amendment associational privilege

must make a prima facie showing of the privilege’s applicability, see In re Motor Fuel Temperature

Sales Pracs. Litig., 641 F.3d at 488, which showing is not made through “minimal and equivocal”

evidence of a chilling risk, id. at 490.

        Here, the Alliance must make a strong showing as to its likelihood of success on the merits

to receive a preliminary injunction. While Americans for Prosperity Foundation and litigation

discovery cases are not entirely on point, the Court finds that they strongly suggest a freedom-of-

association plaintiff may not clear its preliminary injunction burden by vaguely averring to

subjective and undeveloped fears of a chilling risk. At a minimum, the Alliance must explain how

the Reporting Law’s requirement that its members disclose certain of their commercial affiliates

creates a real risk of chilling its members’—or, for purposes of its facial challenge, others’—

expressive activities, and the objective facts on which that belief is grounded.

        In some contexts, a risk of chilling or otherwise burdening associational rights might be

obvious:

                A government can burden the right to associate in a “number” of ways. Ams.
                for Prosperity Found., 141 S. Ct. at 2382 (quoting Roberts, 468 U.S. at 622,
                104 S.Ct. 3244). It might compel a group (say, the Boy Scouts) to accept
                members with whom the group does not want to associate (say, openly gay
                individuals) because the group believes that this membership will dilute its
                message (say, disapproval of non-heterosexual conduct). See Dale, 530 U.S.
                at 653, 120 S.Ct. 2446. The government also might compel a group (say,
                the NAACP) to disclose its list of members to a hostile audience (say, the

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                segregated south) and so deter individuals from joining the group out of fear
                of harassment. See NAACP v. Alabama ex rel. Patterson, 357 U.S. 449,
                461–63, 78 S.Ct. 1163, 2 L.Ed.2d 1488 (1958). Or the government might
                discriminate against a group (say, the Students for a Democratic Society) by
                refusing to give it a generally available benefit (say, access to a college’s
                facilities) that groups generally use to air their points of view. See Healy v.
                James, 408 U.S. 169, 181, 92 S.Ct. 2338, 33 L.Ed.2d 266 (1972). Or it might
                prohibit a group (say, the NAACP) from soliciting individuals (prospective
                clients) to associate with the group’s lawyers for litigation purposes. See
                NAACP v. Button, 371 U.S. 415, 429–37, 83 S.Ct. 328, 9 L.Ed.2d 405
                (1963); see also NAACP v. Claiborne Hardware Co., 458 U.S. 886, 911–12,
                924–26, 102 S.Ct. 3409, 73 L.Ed.2d 1215 (1982).

Lichtenstein, 83 F.4th at 602. Or, as in Americans for Prosperity Foundation, a risk of chilling

might be inferred based on a documented pattern connecting disclosures to harassment and

intimidation. See 594 U.S. at 616–17 (noting the petitioners’ evidence that “they and their

supporters have been subjected to bomb threats, protests, stalking, and physical violence” in

concluding that a California donor-disclosure law created an unnecessary risk of chilling

association).

       In this case, the Alliance challenges an industry-specific disclosure law that requires

industry members to disclose third parties that are involved with offering or enrolling participants

in their products. This disclosure regime is quite different from a disclosure law obligating the

NAACP to disclose its members’ identities against the backdrop of the Jim Crow South—which

could and did subject members to reprisals, and thus created a risk of chilling association with the

NAACP. And it is not the same as the disclosure regime in Americans for Prosperity Foundation,

which broadly required California charities to disclose their major donors, some of whom were

threatened based on disclosure of their donations to arguably controversial causes. 594 U.S. at

602, 604, 616–17. The disclosure regime at issue in this case does not present any obvious risk of

chilling third-party vendors from associating with the Alliance’s members for purposes of

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disseminating the Alliance’s members’ messages or present any obvious risk of preventing the

Alliance’s members from getting their messages out. The Court will not assume that any such

risks exist, 19 absent evidence from the Alliance showing the presence of a chilling threat.

         But the Alliance has not shown that the Reporting Law creates a risk of chilling its

members’ expressive rights. The Alliance filed two declarations in support of its preliminary

injunction motion—one from Rob Waldo, Vice President and Chief Administrative Officer of

Alliance member Samaritan Ministries (Samaritan) (D. 8-1), and the other from Katy Talento,

Executive Director of the Alliance (D. 8-5). It also filed excerpts from Mr. Waldo’s deposition (D.

52-1). None of this evidence shows that the Reporting Law creates a risk of chilling its members’

expressive conduct. 20

         In his declaration, Mr. Waldo indicates that one of the reasons Samaritan finds the

Reporting Law troubling is that its members, rather than Samaritan itself, contract with providers

for services, and that the Reporting Law may require Samaritan to disclose its members’ contracts


19
  The Court is particularly reluctant to presume the sort of disclosure arrangement at issue in this case creates some
sort of chilling risk when the Supreme Court—in cases the Alliance cites—has suggested that disclosure requirements
bearing on professional fundraisers working on charities (in contrast to caps affecting charity spending on fundraising)
are constitutional. See Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 967 n.16 (1984) (“[C]oncerns
about unscrupulous professional fundraisers, like concerns about fraudulent charities, can and are accommodated
directly, through disclosure and registration requirements and penalties for fraudulent conduct.”).
20
  The Alliance quotes In re First Nat. Bank, Englewood, Colo., 701 F.2d 115, 116 (10th Cir. 1983) for the proposition
that affidavits describing the “‘reluctance of people sympathetic [to the group] to associate with the group’ upon
exposure are sufficient evidence” to make out a freedom-of-association claim (D. 52 at 17). But the Alliance leaves
out a key part of this quotation: “Affidavits submitted to the district court describe harassment and intimidation of
petitioners’ known members, and the resulting reluctance of people sympathetic to the goals of [the group] to associate
with the group for fear of reprisals.” In re First Nat. Bank, 701 F.3d at 116–17 (emphasis added). In In re First
National Bank, the entities asserting a First Amendment associational privilege thus pointed to objective facts
demonstrating the existence of a chilling risk. They did not simply rely on vague averments (not backed up any factual
support) that they or their members felt some subjective chilling risk. That is essentially the missing piece here. The
Alliance relies on declarations concluding that the Reporting Law creates a chilling risk, but these conclusions rest on
scant objective supporting evidence. If the Alliance had produced evidence that over the three cycles the Reporting
Law has been in effect, its members and their vendors had faced harassment and intimidation (or anything approaching
harassment and intimidation) its preliminary injunction request would be on much stronger footing.

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with these providers to the state (thereby compromising its members’ medical privacy) (see D. 8-

1 at 3–4). The Alliance does not connect this concern to its members’ (or anyone else’s) expressive

activity. The Court assumes that the Alliance’s theory here is that the Reporting Law makes it

more difficult for Samaritan to reach prospective members with its message, because these

prospective members might be worried that if they join Samaritan, their confidential healthcare

choices might be disclosed to the state. Ultimately, this purported concern is speculative and

appears to depend on a straw man reading of the Reporting Law.

       Section 10-16-107.4 facially requires disclosure of “[a]ny contracts the person [i.e., the

reporting party] has entered into with providers” in Colorado. The reporting template associated

with Regulation 4-10-01, meanwhile, does not require disclosure of any actual contracts—it

merely asks reporting parties to identify how many contracts they have entered into with providers

for Colorado plan participants. See D. 46-1 at 638. On its face, the Reporting Law therefore

cannot be read to seek individual plan members’ contracts with their providers.

       Mr. Waldo’s declaration also indicates that Samaritan’s contractual relationships with at

least some of its “third party vendors” are subject to non-disclosure agreements and that it is

Samaritan’s “understanding that many of [its] affiliates wish to maintain their privacy,” such that

“[t]he forced disclosure of [Samaritan’s vendor relationships] has the potential to undermine

[Samaritan’s] ability to work with [its] vendor[] partners to carry out [its] religious mission” (D.

8-1 at 4). And during his deposition, Mr. Waldo indicated that if Colorado and journalists would

report accurately on the activities of sharing plans, it might not be a problem for Samaritan to

disclose its vendors, but because of this allegedly misleading reporting, vendors might be reluctant

to associate with Samaritan:


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                 And then, now [vendors’] names are associated publicly on a list that,
                 according to Colorado’s Open Records Act, anyone can access. Well, why
                 is that a problem, some may say? If the DOI and journalists would report
                 accurately, it may not be a problem. But they aren’t reporting accurately.
                 And they have provided misleading, mischaracterizing statements that are
                 harming us. And now vendors are publicly associated with us.

(D. 52-1 at 9). Mr. Waldo also explained that “[t]here’s some vendors that face pressure related

to who is considered a hate group,” and that while Samaritan is not considered a hate group, other

organizations that offer sharing plans may be, and so vendors might be reluctant to associate with

those organizations if their affiliations are made public (id. at 9–10).

        Again, the Alliance does not draw a clear connection between the unspecified vendor

relationships Mr. Waldo discusses and Samaritan’s (or any other organization’s) ability to engage

in expressive conduct. Moreover, the concerns Mr. Waldo’s declaration and deposition testimony

raise are vague, speculative, and conclusory. 21

        Ms. Talento’s declaration has the same issues. According to Ms. Talento, “[m]any Alliance

ministry affiliates wish to maintain the privacy of their business or religious affiliations and do not

want their information shared with the government,” so “[t]he forced disclosure of this information

undermines Alliance ministry members’ abilities to work with their partners to carry out their

religious missions” (D. 8-5 at 6). Like Mr. Waldo’s statements, this description of the Reporting

Law’s threats to the Alliance’s members’ ability to spread their religious message is vague. Unlike

Mr. Waldo, Ms. Talento indicates that she is “already aware of some affiliates expressing

reluctance to continue working with health care sharing ministries because of Colorado’s




21
  Mr. Waldo’s speculative concerns about vendor behavior are also significantly undercut by his admission that “no
vendor has ceased to work with [Samaritan] yet due to the Colorado reporting [law]” (D. 46-1 at 779).


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regulations” (id.). But this statement is still vague and does not demonstrate that there is a risk

that sharing ministries will somehow be impaired in disseminating their religious messages.

Moreover, the Court notes that Colorado’s reporting regime has been in place for three reporting

cycles. If its disclosure requirements posed a bona fide risk of chilling protected association, the

Court would expect that the Alliance would be able to produce more specific evidence germane to

that risk. 22 Ultimately, the Alliance’s expressed concerns about chilling appear to be entirely

subjective and lacking in factual support.

         Because the Alliance has not shown that the Reporting Law actually threatens to affect its

members’ expressive activities, the Alliance has not proven a substantial likelihood of prevailing

on the merits of its freedom-of-association claim.

                  4. Free Speech Clause

         “The First Amendment, applicable to the States through the Fourteenth Amendment,

prohibits the enactment of laws ‘abridging the freedom of speech.’” Reed v. Town of Gilbert, 576

U.S. 155, 163 (2015) (quoting U.S. Const. amend. I). It protects “both the right to speak freely

and the right to refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714 (1977).

         But the First Amendment does not protect all speech equally. Indeed, the Constitution

affords commercial speech—that is, “expression related solely to the economic interests of the



22
  During his deposition, Mr. Waldo explained that Samaritan’s vendors do not always tell Samaritan why they stop
working with Samaritan, and that potential vendors do not always explain why they decline to work with Samaritan
in the first place (see D. 52-1 at 14–15). This testimony does not establish that vendors or potential vendors that
ceased doing business or declined to do business with the Alliance’s members would not or could not cite the
Reporting Law as a reason for those decisions if in fact they perceived the Reporting Law as an issue. The fact that
none of the Alliances members have evidently reported losing out on any vendor relationships strongly suggests that
the Reporting Law does not create any real chilling risk. At best, Mr. Waldo’s testimony is an attempt to explain away
the Alliance’s lack of evidence. But ultimately, explaining away the absence of evidence is not the same thing as
evidence, and this explanation does not make for a strong showing that the Alliance is likely to succeed on the merits
of its freedom-of-association claim.

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speaker and its audience,” or speech “proposing a commercial transaction”—“lesser protection”

than it does “other constitutionally guaranteed expression.” Cent. Hudson Gas & Elec. Corp. v.

Pub. Serv. Comm’n of New York, 447 U.S. 557, 561–63 (1980). Laws regulating commercial

speech are not subject to strict scrutiny. Instead, laws restricting commercial speech generally

need only survive intermediate scrutiny. United States v. Wenger, 292 F. Supp. 2d 1296, 1303 (D.

Utah 2003); see also Cent. Hudson Gas & Elec. Corp, 447 U.S. at 564–65 (explaining the

framework applying to efforts to regulate commercial speech that is neither misleading nor related

to unlawful activity). Meanwhile, laws that compel commercial speech (e.g., in the form of

consumer-protection oriented disclosures in advertisements) need only “reasonably relate[] to the

State’s interest in preventing deception of consumers,” at least so long as such compelled speech

is “purely factual and uncontroversial.” Zauderer v. Off. of Disciplinary Couns. of Supreme Ct. of

Ohio, 471 U.S. 626, 651 (1985). This lower standard for compelled commercial speech recognizes

that laws that compel speech “trench much more narrowly” on First Amendment interests than do

laws that restrict speech. Id.

       Applying the commercial speech doctrine requires distinguishing commercial from other

speech. Courts have routinely referred to this analysis as a “commonsense” test. See, e.g., Rubin

v. Coors Brewing Co., 514 U.S. 476, 482 (1995); Ohralik v. Ohio State Bar Ass’n, 436 U.S. 447,

455 (1978). But the lines between commercial and fully protected speech are not always clear.

See City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 419 (1993) (observing “the

difficulty of drawing bright lines that will clearly cabin commercial speech in a distinct category”).

When commercial and “otherwise fully protected speech” are “inextricably intertwined,”

commercial speech does not “retain[] its commercial character.” Riley v. Nat’l Fed’n of the Blind


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of N. Carolina, Inc., 487 U.S. 781, 796 (1988). Rather, the court must simply apply the applicable

test for fully protected expression (generally some form of heightened scrutiny). Id. Ultimately,

a court’s “lodestars in deciding what level of scrutiny to apply” are “the nature of the speech taken

as a whole and the effect of the [challenged law or regulation] thereon.” Id.

       Here, the Alliance contends that the Reporting Law violates its members’ free speech rights

in two ways: first, by requiring that reporting parties produce “[c]opies of any consumer-facing

and marketing materials used in [Colorado] in promoting the [reporting party’s] plan or

arrangement, including plan or arrangement benefit descriptions and other materials that explain

the plan or arrangement,” Colo. Rev. Stat. §10-16-107.4(1)(a)(XVII); and second, by requiring

reporting parties to produce various internal operations data.

                       i. Marketing Materials Disclosures

       The Reporting Law functions differently from the sorts of laws at issue in Central Hudson

and Zauderer. Unlike the regulatory order at issue in Central Hudson, which banned certain

categories of advertising, see 447 U.S. at 558–60, the Reporting Law does not facially restrict

speech. And unlike the regulation at issue in Zauderer, which required attorneys advertising

contingent-fee arrangements to disclose in their advertising their clients’ potential liability for

certain costs, see 471 U.S. at 652, the Reporting Law does not compel reporting parties to convey

any particular message or include any particular information in their advertising. Rather, the

Reporting Law requires reporting parties to turn over to the state marketing materials that they

have already disseminated to some portion of the consuming public. In other words, the Reporting

Law does not require anyone to say anything new—just to say what they have already said. For




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these reasons, the Reporting Law’s marketing material disclosure requirement would seem to

impose a relatively light touch on speech—whatever the contents of that speech are.

         The Alliance’s objection is that the Reporting Law’s marketing materials disclosure

requirement, when applied to sharing ministries, regulates not just to commercial speech, but also

fully protected religious speech. There is little in the record that reflects the substance of the

Alliance’s members’ marketing materials. The record contains Samaritan’s Guidelines for Health

Care Sharing (D. 8-3), which would seem to qualify as “consumer-facing and marketing materials

used . . . in promoting” Samaritan’s sharing plans. These guidelines—in addition to describing the

plans’ coverages and mechanics—note that biblical principles are foundational to Samaritan’s

mission and discuss Samaritan’s religiously oriented membership criteria (e.g., its requirements

that members must affirm a statement of faith, regularly “attend a Biblical, Christian Church,” and

“[a]gree that when you have a dispute with a fellow Christian, and your fellow Christian is willing

to submit that dispute to fellow believers for resolution, you are not to sue each other in the civil

courts or other government agencies”) (id. at 5, 10–11). The record also includes deposition

testimony from Mr. Waldo to the effect that Samaritan tailors its marketing efforts along religious

lines:

               Samaritan does communicate to reach others that we believe are like-
               minded. And we can call that marketing. We can call that advertising. And
               we do that. We’re very intentional about how we do that. We want to attract
               only those people that can sign up on our statement of faith and want to
               participate in healthcare sharing like us. And, yes, we do market and
               advertise to those that we believe may be interested in joining our
               community.




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(D. 52-1 at 6). Mr. Waldo further testified that he was “not aware” of Samaritan making any

changes to the substance of its marketing materials in response to the Reporting Law (D. 46-1 at

791).

        Based on this limited record, it appears that—at least some of the time—sharing ministries

couch their marketing efforts, or explain the transactions they propose, in religious terms. But

common sense dictates that there is also a strong commercial component to sharing ministry

marketing efforts. Sharing ministry marketing materials necessarily explain the terms of a

commercial transaction. By their nature, sharing ministries (and sharing plans more generally)

involve a quid pro quo: members pay regular fees in consideration for (at least a chance of) getting

their medical needs covered. While prospective members might join sharing ministries because

they feel that membership is consistent with their religious values, that does not change the fact

that sharing ministries would not exist if there was no need to pool medical risks—which are

essentially economic. In this regard, sharing ministries operate in the same general commercial

risk management market as traditional insurance companies.

        Speech explaining the terms of a risk-sharing transaction to consumers for the purposes of

persuading consumers to engage in this transaction is definitionally commercial. See Bd. of

Trustees of State Univ. of New York v. Fox, 492 U.S. 469, 473–74 (1989) (“There is no doubt that

the AFS Tupperware parties the students seek to hold propose a commercial transaction, which is

the test for identifying commercial speech.” (citations and internal quotation marks omitted)). And

because this speech concerns an economic transaction, it is unlike other sorts of speech that the

Supreme Court has recognized as non-commercial. See, e.g., Vill. of Schaumburg v. Citizens for a

Better Env’t, 444 U.S. 620, 632 (1980) (distinguishing charitable solicitation from commercial


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speech on the ground that “charitable solicitation does more than inform private economic

decisions and is not primarily concerned with providing information about the characteristics and

costs of goods and services”). Sharing ministries’ marketing materials obviously do inform private

economic decisions relating to health care coverage and do provide information about goods and

services. In this way, they have a clear commercial bent.

       The record shows that the commercial aspects of sharing plan marketing materials are

Colorado’s concern.     As previously discussed, the Division received numerous complaints

indicating that sharing plans and their agents were misleading consumers and that consumers were

confused as to the limitations of sharing plans vis-à-vis traditional insurance. The Division also

discovered that certain plans were impermissibly operating as unlicensed insurers. Colorado’s

requirement that sharing plans disclose their marketing materials relates directly to these concerns.

And while there is no evidence that Colorado’s disclosure requirements have any chilling or

compelled-speech effects on any component of any sharing plan’s marketing materials, the Court

suspects that the only potentially viable argument along these lines is that the Reporting Law might

make sharing plans more sensitive to underscoring distinctions between their offerings and

traditional insurance and take greater pains to ensure they are accurately describing the coverage

they provide. But these burdens would seem to fall on the clearly commercial aspects of sharing

plan marketing efforts. There is no indication that they would fall on any sort of religious

messaging or appeal.

       Because sharing plan marketing materials are at their core commercial speech, and because

the burden of the Reporting Law—if any—would seem to fall on this commercial speech, the

Court concludes that the commercial speech doctrine applies here. While the Court recognizes


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that some sharing plans may include religious messaging in their marketing materials, that does

not change the result of its analysis.

          Proposing commercial transactions in religious terms—or injecting other forms of

protected speech into otherwise commercial appeals—does not necessarily remove speech in

furtherance of that transaction from the ambit of the commercial speech doctrine or create an

inextricable intertwinement issue. See Fox, 492 U.S. at 474–75 (noting that opening sales

presentations with a prayer or the Pledge of Allegiance “would [not] convert them into religious

or political speech”).     In Fox, for instance, the Supreme Court rejected a houseware sales

company’s arguments that gatherings it hosted, where it not only pitched its products, but also

“touch[ed] on other subjects . . . such as how to be financially responsible and how to run an

efficient home,” inextricably intertwined pure and commercial speech. Id. at 474. In concluding

that the commercial speech doctrine applied, the Supreme Court observed that the challenged

policy—which generally prohibited private commercial enterprises from operating on state

university campuses—did “[n]othing [to] prevent[] the speaker from conveying, or the audience

from hearing, [] noncommercial messages.” Id. Here too, the Reporting Law does not preclude

any sharing ministry from conveying any religious message to its members or prospective

members: ministries are free to say anything they want about religion or their religious values to

anyone they wish. There is no evidence that the Reporting Law burdens religious speech at all—

and if it imposes any burden on speech, that burden would seem to fall on purely commercial

speech.

          While the Court concludes that the commercial speech doctrine applies, that does not fully

resolve the question of the particular level of scrutiny the Reporting Law must survive. As the


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Court indicated, the Reporting Law is not precisely like the regulations at issue in Central Hudson

or Zauderer. But on balance, the Reporting Law’s requirement that reporting parties disclose their

marketing materials is more like Zauderer’s consumer disclosure requirement. If anything, it is

less burdensome because it does not dictate the substance of any communication—rather, it

requires reporting parties to disclose their already disseminated marketing materials to the state.

       Accordingly, the Court finds that the Reporting Laws’ marketing-material disclosure

requirement need only survive the rational basis inquiry set forth in Zauderer. The marketing-

material disclosure requirement easily satisfies this test. Understanding how sharing plans market

themselves can guide the Division in advising consumers and acting against sharing plans that

engage in misleading marketing. And the best way to understanding how sharing plans market

themselves is almost certainly to look at how sharing plans actually market themselves. The

marketing-material disclosure requirement thus “reasonably relate[s] to the State’s interest in

preventing deception of consumers.” See Zauderer, 471 U.S. at 651.

                       ii. Internal Data Disclosures

       The Alliance also challenges the Reporting Law on the ground that its various reporting

requirements aside from the marketing-related disclosure obligation “compel[] [] ministries to

speak about their internal operations.” The Alliance does not identify the particular disclosure

requirements it finds objectionable. But the Court presumes the Alliance’s objection extends to

the requirements that sharing plans disclose the total amounts of fees, dues, and payments they

collect; the total dollar amounts of reimbursement requests for healthcare costs or services

submitted in Colorado; the total dollar amount of such requests qualifying for reimbursement; and




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like data. 23 The Alliance claims that these requirements are not entitled to deferential Zauderer

review because Zauderer extends only to factual and uncontroversial disclosures and

“Defendant[] . . . post[s] excerpts of the Alliance’s members’ speech that are misleading by

omission and thereby controversial” (D. 8 at 32). Defendant counters that the required disclosures

represent commercial speech of the sort Zauderer contemplates, and that the Alliance’s real

objection is to government speech, not the disclosure requirements themselves.

         In the Court’s view, the commercial speech doctrine applies more cleanly to regulations

applying to the Alliance’s members’ advertising than it does to the Reporting Law’s separate data

disclosure requirements. 24 Sharing plan advertising proposes a transaction; the other sharing plan

data the Reporting Law seeks, while of course related to sharing plans’ commercial activity, does

not. Cf. SEC v. AT&T, Inc., 626 F. Supp. 3d 703, 748–49 (S.D.N.Y. 2022) (concluding that

Zauderer was “inapposite” in a challenge to a Securities and Exchange Commission disclosure

regulation because the compelled disclosures “reache[d] [securities] issuer speech made in a wide

array of contexts that d[id] not involve a proposed commercial transaction”). The compelled

internal data disclosures are not commercial speech in the same way that the Alliance’s members’

advertising is. And the Court construes the Alliance’s challenge to these compelled internal data

disclosures as different than its challenge to the advertising disclosures. The Alliance at least

seems to be arguing that the advertising disclosures exert a chilling effect on its members’ speech;


23
  This data relates most closely to the Alliance’s apparent concern that the metrics Defendant requests and publicly
reports paint a misleading picture of its members’ operations.
24
   Strictly speaking, the Reporting Law requires disclosures of advertising, not disclosures in advertising. So Zauderer
is also not a precise fit for the Alliance’s challenge to the Reporting Law’s marketing materials disclosure requirement
either. But to the extent that the Reporting Law’s marketing materials disclosure requirement regulates speech, it
regulates commercial speech. Accordingly, the Court finds that Zauderer governs that particular disclosure
requirement.

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the Alliance’s challenge to the internal data disclosures seems to be more along compelled speech

lines. Both in actuality and as asserted, the internal data disclosure requirements do not operate as

a regulation of commercial speech.

       But while the Court is not persuaded that Zauderer governs here, because the Reporting

Law’s data disclosure requirements do not require commercial speech, that does not mean that

Zauderer lacks any persuasive relevance. Indeed, “Zauderer . . . underscores that laws compelling

disclosures of factual information in connection with commercial transactions may implicate only

minimal First Amendment interests of the merchant, are judged under a rational basis standard,

and do not implicate the traditional concerns associated with compelled speech.” Id. at 749

(footnote omitted).

       Moreover, even if the commercial speech doctrine does not apply, that does not necessarily

mean that strict scrutiny applies to the Reporting Law’s operations data disclosure requirements.

Similar compelled disclosure arrangements are routinely upheld in other contexts. For instance,

courts have concluded that required disclosures of transaction data to the Internal Revenue Service

do not implicate the First Amendment. See United States v. Sindel, 53 F.3d 874, 877–78 (8th Cir.

1995) (rejecting the claim that required disclosure of information relating to cash transactions in

excess of $10,000 violated the First Amendment’s compelled speech prohibition).

       And in the securities context, courts generally uphold compelled disclosure requirements

under deferential rubrics. See, e.g., Ohralik, 436 U.S. at 456 (“Numerous examples could be cited

of communications that are regulated without offending the First Amendment, such as the

exchange of information about securities . . . .”); AT&T, Inc., 626 F. Supp. 3d at 743 (observing

that “laws and regulations mandating affirmative disclosures of information, particularly for public


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issuers and other participants in the securities industry . . . . have routinely withstood First

Amendment challenges without any suggestion that strict, or even intermediate, scrutiny applied”);

SEC v. Wall St. Publ’g Inst., Inc., 851 F.2d 365, 373 (D.C. Cir. 1988) (“If speech employed directly

or indirectly to sell securities were totally protected, any regulation of the securities market would

be infeasible—and that result has long since been rejected.”).

       Deferential treatment of disclosure obligations in the securities context is appropriate for

several reasons. First, such disclosure obligations do not constitute “a veiled attempt to ‘suppress

unpopular ideas or information or manipulate the public debate through coercion rather than

persuasion.’” Full Value Advisors, LLC v. SEC, 633 F.3d 1101, 1108 (D.C. Cir. 2011) (quoting

Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641 (1994)). Second, securities disclosure

requirements do not generally implicate political speech, restrict speech, or implicate expressions

of opinions or points of view, and instead generally concern themselves with strictly factual

information. AT&T, Inc., 626 F. Supp. 3d at 750 (drawing on these considerations in concluding

that strict scrutiny did not apply to Regulation Fair Disclosure). Third, securities regulations

operate in an area that has been historically and extensively regulated by the government. Wall St.

Pub. Inst., Inc., 851 F.2d at 372 (noting that regulations incidentally burdening free speech are

commonly upheld when those regulations appear in the context of an “extensively regulate[d] []

field of economic activity”). These same general considerations underpin the commercial speech

doctrine. Ohralik, 436 U.S. at 455–56 (distinguishing commercial from other speech on the basis

that commercial speech “occurs in an area traditionally subject to government regulation”);

Zauderer, 471 U.S. at 651 (noting that the “interests at stake” in commercial-speech-related cases

are “not of the same order” as those present in other First Amendment cases, because commercial-


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speech-related regulations do not “‘prescribe what shall be orthodox in politics, nationalism,

religion, or other matters of opinion or force citizens to confess by word or act their faith therein’”)

(quoting W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943)).

        While the Reporting Law’s internal data disclosure requirements might not compel or

regulate commercial speech as that term is used in Supreme Court caselaw, and while they are not

securities regulations, they are similar to compelled disclosure requirements subject to the

commercial speech doctrine and compelled disclosure requirements within the securities

regulation regime. Like speech subject to the commercial speech doctrine and speech compelled

by securities regulations, the speech the Reporting Law’s internal data disclosure requirements

compel does not implicate core First Amendment concerns.

        The Reporting Law requires sharing plans to disclose high-level data about their business

operations. This data is commercial-speech adjacent, as it relates to and sheds lights on the

transactions that sharing plans facilitate. And the Reporting Law’s data disclosure requirements

serve the same general concerns as commercial speech and securities regulations—they are

calculated to prevent consumer and marketplace confusion. Moreover, the Reporting Law’s data

disclosure requirements do not operate to suppress any ideas, do not involve political speech, do

not restrict speech, and do not require expressions of opinions or points of view. They simply

require factual disclosures about sharing plan businesses operations. Finally, though states have

not so far traditionally and heavily regulated the sharing plan market (likely because of this

market’s relatively recent emergence), there is a longstanding tradition of states extensively

regulating the conventional insurance market (and for the same general consumer protection

reasons that underpin Colorado’s desire to regulate the sharing plan market). In short, the


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Reporting Law’s data disclosure requirements lack “any hallmark indicative of an occasion to

apply strict scrutiny.” AT&T, Inc., 626 F. Supp. 3d at 750. They are similar to the sorts of laws

that courts evaluate under more deferential standards.

         As to which more deferential standard applies, the Court finds that rational basis scrutiny

is most appropriate. 25 The Reporting Law’s internal data disclosure requirements—to the extent

they implicate speech—compel rather than restrict it.                    They therefore “trench much more

narrowly” on First Amendment interests than speech restrictions. Zauderer, 471 U.S. at 651. They

are also similar to the sorts of laws approved in Zauderer in that they require disclosure of

uncontroversial factual matters for the purpose of informing consumer decisionmaking. 26 The data

Colorado seeks on sharing plan claims-payment practices is certainly germane to its legitimate

consumer protection concerns. The Reporting Law’s internal data disclosure requirements thus

easily clear rational basis scrutiny.

         In sum, the Alliance has not demonstrated that it is likely to succeed on the merits of its

free-speech-based challenge to any aspect of the Reporting Law. Rational basis scrutiny applies


25
   Even if the Court did not find that the Reporting Law’s data-disclosure requirements were analogous to commercial
speech and securities regulations, it would not necessarily follow that these requirements would be subject to strict
scrutiny. See, e.g., Am. Target Advert., Inc. v. Giani, 199 F.3d 1241, 1247–48 (10th Cir. 2000) (concluding that a
Utah law imposing registration and disclosure requirements on professional solicitors was content neutral, and
upholding the law after determining it satisfied the requirements of intermediate scrutiny). Here, the Reporting Law’s
data-disclosure requirements are content-neutral, because there is no indication that Colorado adopted them “because
of disagreement” with any particular message, or to “suppress the expression of unpopular views.” See id. (quoting
Turner Broad. Sys., Inc., 512 U.S. at 642; and then quoting Renton v. Playtime Theatres, Inc., 475 U.S. 41, 47–48,
(1986)). Accordingly, the highest level of scrutiny the Court would apply in response to the Alliance’s free speech
challenge is intermediate scrutiny. And the Court would find that the Reporting Law’s data disclosure requirements
meet intermediate scrutiny. The required disclosures enable Colorado to understand sharing plan practices (and
ultimately assist consumers in making informed healthcare decisions). Colorado has a substantial interest in protecting
its consumers, and Colorado’s requirement that sharing plans produce data shedding light on their payment practices
is narrowly drawn to that interest.
26
  The Alliance’s argument that the metrics its members must report are controversial because of the spin that others’
speech can put on them is unpersuasive. The fact that a speaker might not like what others say about their speech does
not render any data the speaker reports controversial.

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to both the Reporting Law’s marketing materials disclosure requirements and its business-

operations data disclosure requirements. And both components of the Reporting Law satisfy

rational basis scrutiny’s requirements.

       B. Irreparable Harm, Balance of Hardships, and Public Interest Considerations

       “[I]n First Amendment cases, the likelihood of success on the merits will often be the

determinative factor.” Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013)

(quoting ACLU of Illinois v. Alvarez, 679 F.3d 583, 589 (7th Cir. 2012)). If Colorado’s Reporting

Law violated the Alliance’s members’ First Amendment rights, that constitutional violation would

unquestionably work irreparable harm upon them, and it would be in the public interest to enjoin

Colorado from enforcing the Reporting Law. See id. (explaining the relevance of constitutional

violations to preliminary injunction analyses); see also Elrod v. Burns, 427 U.S. 347, 373 (1976)

(“The loss of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.”). Conversely, if Colorado’s Reporting Law does not violate the

Alliance’s members’ First Amendment rights, the Alliance lacks any hook for demonstrating

irreparable harm, and the public interest would dictate that Colorado be permitted to enforce its

valid laws in furtherance of the interests the legislature intended them to serve.

       Here, the Alliance has not demonstrated that it is likely to succeed on the merits of any of

its claims. Given the apparently low likelihood that the Reporting Law is violating any of the

Alliance’s members’ First Amendment rights, the Court concludes that the irreparable harm and

balance of hardships/public interest factors weigh in Defendant’s favor.




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                                      IV. CONCLUSION

       Because the Alliance has not shown that any of the preliminary injunction factors weigh in

its favor (and in particular has failed to make a strong showing as to its likelihood of success on

the merits of any of its claims), the Court DENIES the Alliance’s Motion for a Preliminary

Injunction (D. 8).



       DATED January 13, 2025.

                                                     BY THE COURT:




                                             Gordon P. Gallagher
                                             United States District Judge




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